Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25     Page 1 of 73 PageID #: 225




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


  NATIONAL RELIGIOUS BROADCASTERS,
  SAND SPRINGS CHURCH, FIRST BAPTIST
  CHURCH WASKOM, and INTERCESSORS
  FOR AMERICA

         Plaintiffs,                                 Civil Action No. 6-24-cv-00311

  v.

  DANNY WERFEL, IN HIS OFFICIAL
  CAPACITY AS COMMISSIONER OF
  THE INTERNAL REVENUE SERVICE, and
  THE INTERNAL REVENUE SERVICE

         Defendants.



                                FIRST AMENDED
                       COMPLAINT FOR DECLARATORY RELIEF


                                       INTRODUCTION
 1.    The Internal Revenue Code [“IRC”] prohibits only one class of nonprofit organizations from

       communicating their views about political candidates—those organized under § 501(c)(3)

       of the IRC. This is the result of language added to the IRC in 1954 and known widely as the

       Johnson Amendment. In general, this Section prohibits such nonprofits from supporting or

       opposing candidates for public office, including making statements about such candidates.

 2.    All for-profit corporations and all nonprofits organized under any other section of the IRC

       can freely speak their views about political candidates in accordance with the Free Speech

       Clause of the First Amendment. Citizens United v. Fed. Election Comm’n, 510 U.S. 310

       (2010).


                                                1
Case 6:24-cv-00311-JCB         Document 20      Filed 02/21/25      Page 2 of 73 PageID #: 226




 3.   Other kinds of nonprofits are free to speak about political candidates, even though such

      organizations are exempt from federal income tax and obtain the bulk of their income from

      revenue that is tax-deductible to the “donor” of the organization—usually as business

      expenses.

 4.   Churches are placed in a unique and discriminatory status by the IRC. Under § 508(c)(1) of

      the IRC, churches need not apply to the Internal Revenue Service [“IRS”] to obtain

      recognition of their 501(c)(3) status. The IRC places them automatically within the ambit of

      501(c)(3) and thereby silences their speech, while providing no realistic alternative for

      operating in any other fashion. Churches have no choice; they are automatically silenced vis-

      à-vis political candidates.

 5.   Hundreds of newspapers are organized under § 501(c)(3), and yet many openly endorse

      political candidates. Others make statements about political candidates that constitute

      forbidden statements under the IRS’ interpretation of the statutory prohibition against

      supporting or opposing candidates. Plaintiffs believe that nonprofit newspapers have a clear

      constitutional right to make such endorsements or statements. Plaintiffs simply contend that

      they should also have the same freedom of speech.

 6.   The IRS has formally recognized the right of college newspapers (owned by colleges that

      are 501(c)(3) nonprofit organizations) to publish endorsements for political candidates. Rev.

      Rul. 72-513, 1972-2 C.B. 246. While Plaintiffs contend that such newspapers should have

      such a right under the First Amendment, it is a denial of equal protection to interpret §

      501(c)(3) to allow college newspapers to endorse candidates while prohibiting nonprofits

      like Plaintiffs from doing the same.




                                                2
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25       Page 3 of 73 PageID #: 227




 7.    Many 501(c)(3) organizations engage in electoral activities that are open, obvious, and well-

       known, yet the IRS allows some, but not all, such organizations to do so without penalty.

       Again, Plaintiffs believe that such churches have the constitutional right to engage in such

       participation; they simply want the same right for themselves.

 8.    There is no apparent rational basis for determining which 501(c)(3) organizations will be

       permitted to proceed, and which will be penalized for violating the Johnson Amendment.

       The IRS acts in an arbitrary and capricious manner vis-à-vis electoral statements by

       nonprofit organizations.

 9.    The IRS operates in a manner that disfavors conservative organizations and conservative,

       religious organizations in its enforcement of § 501(c)(3). This is a denial of both religious

       freedom and equal protection.

 10.   Plaintiffs are all religious nonprofit organizations in the business of communicating their

       views to the public. They regularly speak on a nearly infinite variety of topics and situations,

       believing that the Christian faith as taught in the Holy Bible speaks to every area of life.

       However, under the IRC as interpreted and enforced by the IRS, there is one area of life

       where they are not free to speak—to wit, their views about political candidates and issues.

 11.   Some Plaintiffs do not want to formally endorse or oppose political candidates. However,

       all Plaintiffs desire to communicate their views about candidates’ positions that are relevant

       to the issues Plaintiffs care about. They would do so but for the Johnson Amendment. The

       IRS operates in a manner whereby the Plaintiffs are in jeopardy of punishment if they

       forthrightly say that a candidate’s positions are unbiblical; or that another candidate’s

       positions are consonant with biblical teaching. The Plaintiffs’ speech is clearly chilled in this

       regard because they are not free to proclaim their views on the issues of the day and then


                                                  3
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25       Page 4 of 73 PageID #: 228




       compare their views with the views of the candidates on these same issues. Yet, countless

       other entities that are similarly situated face no such restrictions by law, in some cases, or in

       practice, in others.

 12.   Plaintiffs have no adequate legal alternative to vindicate their rights to freely speak other

       than this proceeding. It is inappropriate to require them to disobey IRC rules and/or the IRS’

       interpretation of the IRC, as doing so requires them to risk their tax-exempt status if their

       challenge is unsuccessful.

 13.   Plaintiffs do not contend that the limitation on lobbying activity violates the First

       Amendment. Nor do they contend that their inability to directly donate to political candidates

       violates their First Amendment rights. Rather, they only seek a declaratory judgment and

       injunctive relief that they may use their regular means of communication to expound their

       views concerning political candidates who seek to represent them. Plaintiffs seek no relief

       from the operation of the Johnson Amendment outside of this context.

 14.   Plaintiffs contend that the Johnson Amendment, as written and as applied by the IRS,

       violates the First Amendment’s Free Speech Clause, Free Exercise Clause, the Fifth

       Amendment’s Due Process Clause (Void for Vagueness), the Fifth Amendment’s Due

       Process Clause (Equal Protection), and the Religious Freedom Restoration Act.

 15.   As with all fundamental rights, deprivation of those rights is irreparable injury per se. Elrod

       v. Burns, 427 U.S. 347, 373 (1976).

                    JURISDICTION, VENUE & SOVEREIGN IMMUNITY

 16.   Plaintiffs seek declaratory, injunctive, and other appropriate relief under the Declaratory

       Judgment Act, 28 U.S.C. §§ 2201–02.




                                                  4
Case 6:24-cv-00311-JCB             Document 20       Filed 02/21/25       Page 5 of 73 PageID #: 229




 17.   This Court has the authority to grant such relief to Plaintiffs under the Declaratory Judgment

       Act, 28 U.S.C. §§ 2201–02; the Constitution of the United States; and the Court’s inherent

       equitable powers.

 18.   This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this action arises

       under the U.S. Constitution and federal law. Specifically, this Court has subject-matter

       jurisdiction to determine if a law of Congress violates the Constitution of the United States

       as applied to Plaintiffs.

 19.   This Court has jurisdiction under 28 U.S.C. § 1346(a) because this is a civil action against

       the United States.

 20.   An actual controversy exists between the parties within the meaning of 28 U.S.C. § 2201(a).

 21.   Venue is proper in this District under 28 U.S.C. § 1391, including paragraph (e).

 22.   Defendants are an officer of the United States and an agency of the United States, acting in

       their official capacities or under color of legal authority.

 23.   Plaintiff Sand Springs Church is located in Athens (Henderson County), Texas. First Baptist

       Church Waskom is located in Waskom, Texas. Both churches are located within the Eastern

       District of Texas. Sand Springs Church is located within the Tyler Division of the District.

       Venue is therefore proper within this district under 28 U.S.C. § 1391, including paragraph

       (e).

 24.   Plaintiffs seek relief from the Defendants in that one or more of the following is true:

       (1) actions taken by the IRS are beyond their statutory powers, (i.e., the discriminatory

              practices of the IRS are alleged below)

       (2) the powers themselves are constitutionally void, that is, that the Johnson Amendment is

              unconstitutional on its face, or

       (3) the manner in which the IRS administers the Johnson Amendment is constitutionally
                                                    5
Case 6:24-cv-00311-JCB         Document 20       Filed 02/21/25      Page 6 of 73 PageID #: 230



          void, that is that the Johnson Amendment is unconstitutional as applied to Plaintiffs

          and administered by the IRS.

 25.   Sovereign immunity has been waived by the United States in 5 U.S.C. § 702, the

       Administrative Procedures Act, which contains a general waiver of sovereign

       immunity for cases seeking non-monetary relief. “Congress intended to waive

       immunity for non-statutory causes of action against federal agencies arising under 28

       U.S.C. § 1331.” Alabama-Coushatta Tribe of Texas v. United States, 757 F.3d 484, 488

       (5th Cir. 2014). Plaintiffs do not seek monetary relief, the actions of the Defendants

       are under color of law, and plaintiffs have suffered an injury as a result of such

       actions. The criteria for waiver of sovereign immunity under this statute are fully met.

 26.   The United Supreme Court held that there are two primary exceptions to Sovereign

       Immunity: Case which challenge an “(1) action by officers beyond their statutory powers

       and (2) even though within the scope of their authority, the powers themselves or the

       manner in which they are exercised are constitutionally void.” Dugan v. Rank, 372 U.S.

       609, 621-622 (1963 (relying upon Larson v. Domestic Foreign Corp., 337 U.S. 682, 701-

       702 (1949)). See also, Danos v. Jones, 652 F.3d 577, 582 (5th Cir. 2011). These

       exceptions are applicable here.

 27.   The Religious Freedom Restoration Act contains a waiver of sovereign immunity.

       Plaintiffs’ claims under that Act are likewise unhindered by the doctrine of sovereign

       immunity.

                                              PARTIES

 28.   Plaintiff National Religious Broadcasters is a nonprofit corporation with tax exempt status

       under § 501(c)(3) of the Internal Revenue Code. National Religious Broadcasters is located

       in Washington, DC.
                                                6
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 7 of 73 PageID #: 231



 29.   Plaintiff Sand Springs Church is a nonprofit corporation with tax exempt status under §

       501(c)(3) of the Internal Revenue Code. Sand Springs Church is located in Athens, Texas.

 30.   Plaintiff First Baptist Church Waskom is a nonprofit corporation with tax exempt status

       under § 501(c)(3) of the Internal Revenue Code. First Baptist Church Waskom is located in

       Waskom, Texas.

 31.   Plaintiff Intercessors for America is a nonprofit corporation with tax exempt status under §

       501(c)(3) of the Internal Revenue Code. Intercessors for America is located in Purcellville,

       Virginia.

 32.   Defendant Danny Werfel is the Commissioner of the Internal Revenue Service. He has the

       responsibility of enforcing the tax laws of the United States, including § 501(c)(3) of the

       Internal Revenue Code. His office is in Washington, DC, and he is sued solely in his official

       capacity.

 33.   Defendant the Internal Revenue Service is an agency of the government of the United States

       with the responsibility for enforcing the Internal Revenue Code, including § 501(c)(3).

                                            STANDING

 34.   As described with more particularity below, Plaintiffs have suffered “an injury in fact” and

       have shown that there is a “sufficient causal connection” between the Johnson Amendment,

       as written and as applied by the IRS, and that the injury “will be redressed by a favorable

       decision.” Glass v. Paxton, 900 F.3d 233, 238 (5th Cir. 2018). “Nothing in this Court's

       decisions requires a plaintiff who wishes to challenge the constitutionality of a law to confess

       that he will in fact violate that law.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 163

       (2014).

 35.   This case arises under the First Amendment, and Plaintiffs’ central claim is that their right

       to speak freely about political candidates and issues are being improperly chilled by the
                                                  7
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25       Page 8 of 73 PageID #: 232



       Johnson Amendment, as written and as enforced by the IRS. They are subject to sanction by

       the IRS for any violation of the Johnson Amendment. “[S]tanding rules are relaxed for First

       Amendment cases so that citizens whose speech might otherwise be chilled by fear of

       sanction can prospectively seek relief.” Nat'l Press Photographers Ass'n v. McCraw, 90

       F.4th 770, 782 (5th Cir. 2024); “[t]he First Amendment challenge has unique standing issues

       because of the chilling effect, self-censorship, and in fact the very special nature of political

       speech itself.’ It is not hard to sustain standing for a pre-enforcement challenge in the highly

       sensitive area of public regulations governing bedrock political speech.” Speech First, Inc.

       v. Fenves, 979 F.3d 319, 331 (5th Cir. 2020).

 36.   None of the Plaintiffs have heretofore violated the Johnson Amendment, but all have

       engaged in self-censorship to avoid doing so and incurring the commensurate penalties

       provided in the IRC. “In pre-enforcement cases alleging a violation of the First Amendment's

       Free Speech Clause, the Supreme Court has recognized that chilled speech or self-censorship

       is an injury sufficient to confer standing.” Nat'l Press Photographers Ass'n v. McCraw, 90

       F.4th 770, 782 (5th Cir. 2024). “Because [Plaintiffs] intended future conduct concerns

       political speech, it is certainly ‘affected with a constitutional interest.’ . . . [T]he

       constitutional guarantee has its fullest and most urgent application precisely to the conduct

       of campaigns for political office.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 162

       (2014). This satisfies the first standing requirement to demonstrate that there is an injury in

       fact.


 37.   Plaintiff National Religious Broadcasters would take the following actions but for the fact

       that the Johnson Amendment would threaten their nonprofit status or subject them to other

       penalties within the Internal Revenue Code, and will take these actions if they prevail in

                                                  8
Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25      Page 9 of 73 PageID #: 233



     this litigation:

         •   NRB would identify a narrow range of issues concerning religious freedom,

             freedom of speech and the press, moral issues, and issues of special concern to

             broadcasters.

         •   NRB would publish their views on this set of issues making it clear to its members

             which views it supports and which it opposes.

         •   NRB would publish the views of federal candidates for the President, Senate, and

             House of Representatives on this selection of issues.

         •   NRB would compare its views with the views of the candidates, clearly identifying

             which candidates take positions supporting NRB’s views and which candidates

             oppose its views. All of this would be done on an issue by issue basis.

         •   If the views of the individual candidates are unknown, then to the extent possible,

             NRB would use the positions found in the platform of the political party to which

             the candidate belongs as the means of making the above-described comparisons.

         •   NRB would urge their members to vote, and to do so in line with the issues which

             best align with the values of each member as enlightened by the candidate

             information furnished by NRB.

         •   NRB would invite candidates for federal office to address its annual convention.

             NRB has done this in the past, but in compliance with the Johnson Amendment has

             invited all candidates for the same office (provided that they have a certain level of

             public support, e.g. 5% or more in national polls). Henceforth, NRB would only

             invite candidates whose views align with those of NRB. NRB would announce to

             its audience that the candidates so appearing align with its views.

         •   NRB would do all of these things in close proximity to the election in question.

                                                9
Case 6:24-cv-00311-JCB         Document 20         Filed 02/21/25      Page 10 of 73 PageID #: 234



 38.   Plaintiff Sand Springs Church would take the following actions but for the fact that the

       Johnson Amendment would threaten their nonprofit status or subject them to other

       penalties within the Internal Revenue Code, and will take these actions if they prevail in

       this litigation:

           •   The pastor of Sand Springs Church would deliver one or more sermons at the

               regular Sunday services of the church in which he would discuss political issues

               and the stands taken by the major candidates nationally and in the church’s general

               area in light of the principles, teachings, and dictates of the Bible as described more

               particularly in the following sub-paragraphs.

           •   The pastor would identify a specific and narrow set of issues that are of special

               importance to the people of his church considering their biblically-grounded faith.

               Such issues are generally referred to as moral issues and liberty issues such as

               freedom of religion, freedom of speech, and the rights of parents to raise their

               children according to their faith traditions and beliefs.

           •   The pastor would make clear what the Bible teaches on each of these issues and the

               church’s preferred application of these biblical principles to the current issues of

               the day that match each of the topics.

           •   The pastor would also compare the views of each of the relevant candidates and/or

               the major political parties making it clear which candidates/parties views align with

               those of the church and which do not.

           •   The pastor would urge the congregation to vote and to do so in accordance with the

               principles and viewpoints that have just been described.

           •   Candidates for state and local offices would be invited to appear at the church’s

               Sunday morning worship service in close proximity to the relevant election. Only

                                                   10
Case 6:24-cv-00311-JCB         Document 20          Filed 02/21/25      Page 11 of 73 PageID #: 235



               those candidates whose positions substantially align with those of the church would

               be invited and introduced. The congregation would be told the name of the

               candidate, what office they seek, that the church is confident that their views align

               with those of the church. The congregation would be encouraged to keep this

               alignment in mind as they vote.

           •   This would all be done in close proximity to the election.


 39.   Plaintiff First Baptist Church of Waskom would take the following actions but for the fact

       that the Johnson Amendment would threaten their nonprofit status or subject them to other

       penalties within the Internal Revenue, and will take these actions if they prevail in this

       litigation:

           •   The pastor of First Baptist Church of Waskom would deliver one or more sermons

               at the regular Sunday services of the church in which he would discuss political

               issues and the stands taken by the major candidates nationally and in the church’s

               general area in light of the principles, teachings, and dictates of the Bible as described

               more particularly in the following sub-paragraphs.

           •   The pastor would identify a specific and narrow set of issues that are of special

               importance to the people of his church considering their biblically-grounded faith.

               Such issues are generally referred to as moral issues and liberty issues such as

               freedom of religion, freedom of speech, and the rights of parents to raise their

               children according to their faith traditions and beliefs.

           •   The pastor would make clear what the Bible teaches on each of these issues and the

               church’s preferred application of these biblical principles to the current issues of the

               day that match each of the topics.


                                                    11
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 12 of 73 PageID #: 236



           •   The pastor would also compare the views of each of the relevant candidates and/or

               the major political parties making it clear which candidates/parties views align with

               those of the church and which do not.

           •   The pastor would urge the congregation to vote and to do so in accordance with the

               principles and viewpoints that have just been described.

           •   Candidates for state and local offices would be invited to appear at the church’s

               Sunday morning worship service in close proximity to the relevant election. Only

               those candidates whose positions substantially align with those of the church would

               be invited and introduced. The congregation would be told the name of the

               candidate, what office they seek, that the church is confident that their views align

               with those of the church. The congregation would be encouraged to keep this

               alignment in mind as they vote.

           •   This would all be done in close proximity to the election.


 40.   Plaintiff Intercessors for America (IFA) would take the following actions but for the fact

       that the Johnson Amendment would threaten their nonprofit status or subject them to other

       penalties within the Internal Revenue Code, and will take these actions if they prevail in

       this litigation:

           •   IFA would continue publishing voter guides for presidential elections as it has done

               at various times for the past 50 years. IFA’s voter guide for the past two elections

               are attached hereto as Exhibits A and B.

           •   IFA would, however, change their voter guides to make some changes from their

               prior publications. Specifically, IFA would now make clear statements about the

               various issues covered that clearly communicates the preferred view of IFA on each


                                                  12
Case 6:24-cv-00311-JCB         Document 20          Filed 02/21/25   Page 13 of 73 PageID #: 237



              of the issues discussed.

          •   IFA’s voter guides would address a narrow set of moral issues and issues related to

              religious freedom.

          •   IFA’s voter guides would make clear statements as to its biblical beliefs on the

              correct approach to each of these issues.

          •   IFA’s voter guides will publish the views of the presidential candidates on each of

              the identified issues.

          •   IFA’s voter guides will clearly compare its preferred view with the view of each of

              the presidential candidates.

          •   IFA will issue its voter guides principally through churches all over the nation in

              close proximity to the presidential election.

          •   IFA’s voter guides would urge all those reading the guides to vote in accordance

              with the positions described by IFA.

 41.   Plaintiffs have suffered an injury in fact if they (1) have an intention to engage in a course

       of conduct arguably affected with a constitutional interest, (2) their intended future conduct

       is proscribed by Johnson Amendment, and (3) the threat of future enforcement of the

       Johnson Amendment is substantial as outlined herein. Speech First, Inc. v. Fenves, 979 F.3d

       319 (5th Cir. 2020).

 42.   The text of the Johnson Amendment and its enforcement by the Defendants, as described

       more particularly below, are the causes of the chilling of Plaintiffs’ speech and the other

       constitutional violations as alleged below. This satisfies the second standing requirement to

       demonstrate that there is a sufficient causal connection between the actions of the Defendants

       and the injury suffered by the Plaintiffs.

 43.   The Johnson Amendment is actively enforced by the IRS. Its website contains strong

                                                    13
Case 6:24-cv-00311-JCB         Document 20         Filed 02/21/25       Page 14 of 73 PageID #: 238



       warnings to relevant nonprofits to avoid violating its provisions. Moreover, “[r]egarding this

       third [standing] requirement, when dealing with pre-enforcement challenges to recently

       enacted (or, at least, non-moribund) statutes that facially restrict expressive activity by the

       class to which the plaintiff belongs, courts will assume a credible threat of prosecution in the

       absence of compelling contrary evidence.” Barilla v. City of Houston, Texas, 13 F.4th 427,

       431–32 (5th Cir. 2021).

                                                FACTS

 44.   Title 26, § 501(c)(3) of the United States Code provides as follows:

           Corporations, and any community chest, fund, or foundation, organized and

           operated exclusively for religious, charitable, scientific, testing for public safety,

           literary, or educational purposes, or to foster national or international amateur

           sports competition (but only if no part of its activities involve the provision of

           athletic facilities or equipment), or for the prevention of cruelty to children or

           animals, no part of the net earnings of which inures to the benefit of any private

           shareholder or individual, no substantial part of the activities of which is carrying

           on propaganda, or otherwise attempting, to influence legislation (except as

           otherwise provided in subsection (h)), and which does not participate in, or

           intervene in (including the publishing or distributing of statements), any

           political campaign on behalf of (or in opposition to) any candidate for public

           office. (Emphasis added).

 45.   The bolded language in said statute was added by Senator Lyndon Johnson in 1954 (although

       it was slightly amended later). This portion of this section is widely known as the Johnson

       Amendment, and it is this portion that is challenged in this litigation.

 46.   Insofar as this section prohibits nonprofit organizations organized under § 501(c)(3) from
                                                   14
Case 6:24-cv-00311-JCB         Document 20          Filed 02/21/25    Page 15 of 73 PageID #: 239



       speaking freely about political candidates, it is a violation of the First Amendment’s

       protection of freedom of speech. The political speech prohibited is core protected speech

       under the First Amendment, and there is no compelling governmental interest that justifies

       this limitation of constitutional freedom.

 47.   Plaintiffs have not “participated in,” or “intervened in,” or “published or distributed any

       statement” in “any political campaign on behalf of or in opposition to any candidate for

       public office.” Nor have Plaintiffs knowingly violated any regulation or interpretation of the

       IRS vis-à-vis the Johnson Amendment. No adverse action of any kind by the IRS is pending

       against any Plaintiff, because Plaintiffs have censored their own speech to avoid incurring

       any sanction by the IRS.

 48.   The IRS has sanctioned Cornerstone Chapel, another 501(c)(3) organization, for violating

       the Johnson Amendment. See, Paragraph 100. One of the factors it used in reaching this

       conclusion was that said organization distributed a voting guide produced by Plaintiff

       Intercessors for America. There was no determination that Intercessors for America violated

       the Johnson Amendment, and there is no action pending between the IRS and this Plaintiff.

 49.   Each Plaintiff is constrained from speaking freely about political candidates by the Johnson

       Amendment and by the arbitrary and capricious interpretation and enforcement by the IRS.

       Each Plaintiff desires the freedom to discuss political candidates and their fidelity to

       Plaintiffs’ interests and values. Plaintiffs’ speech has been unconstitutionally chilled by both

       the Johnson Amendment and its arbitrary interpretation and enforcement.

 50.   For example, Plaintiff National Religious Broadcasters (NRB) is engaged in a major effort

       in Congress to ensure that automobile manufacturers do not eliminate AM radios from their

       cars and trucks. Members of Congress have taken positions on their support or opposition to

       the NRB position on this issue. NRB desires to communicate such information to its
                                                    15
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 16 of 73 PageID #: 240



       members encouraging them to remember this fact when voting. However, because of the

       Johnson Amendment and the uncertainty surrounding its enforcement, Plaintiff NRB is

       unable to encourage its members or the public to vote for congressional candidates who

       support AM radio, or to vote against candidates who side with the automobile manufacturers.

       Yet, automobile manufacturers are free to publicly support or oppose candidates based on

       their positions on this, or any other issue of interest to them. Plaintiffs’ speech has been

       chilled in this and countless other similar manners.

 51.   All Plaintiffs are Christian organizations that embrace a biblical worldview, which includes

       the belief that every aspect of life is subject to the jurisdiction and standards of God as set

       forth in the Bible. There are no areas of life that are outside of God and His standards. This

       includes political issues. To faithfully carry out each of their respective ministries, each

       Plaintiff believes it has a duty before God to teach what the Word of God says about every

       issue of life, and to apply such teaching in practical ways rather than speaking in merely

       theoretical terms. In fact, the Book of James teaches that it is a sin for a person to know the

       right thing to do but to fail to do it. James 4:17.

 52.   Moreover, the Book of Hosea teaches that Israel was punished for “setting up” kings and

       making princes without God’s permission. Hosea 8:4. In Deuteronomy 17:14 et seq., God

       set forth standards for choosing kings in Israel. The people were taught to choose kings who

       did not deviate either to the right or to the left of God’s standards. Although these passages

       were written literally to the nation of Israel in the Old Testament, the New Testament teaches

       that all Scripture is given by God and is profitable for enabling every believer to do good

       works. 2 Timothy 3:16. Plaintiffs believe this means that the prescriptions of the Old

       Testament concerning the duty to follow God’s standards in the selection of a political leader

       are applicable by principle to Christians today. Accordingly, Plaintiffs believe that every
                                                   16
Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25      Page 17 of 73 PageID #: 241



       Christian has a duty to vote in accordance with the standards of God’s Word. Plaintiffs

       believe that they have a duty to teach the full counsel of the Word of God, and to declare

       when candidates have deviated from the right or the left of God’s standards. Plaintiffs cannot

       do so without fear of punishment from the IRS.

 53.   But for the Johnson Amendment and its arbitrary enforcement, each Plaintiff would engage

       in speech that clearly states the positions of candidates on issues, while at the same time

       teaching the standards of the Word of God on such issues. This comparison—the standards

       of the Word of God vis-à-vis the position of candidates on the same issues—is deemed by

       the IRS to constitute support or opposition to candidates in violation of the Johnson

       Amendment.

                         IRS’s Arbitrary and Capricious Enforcement
                                 of the Johnson Amendment

                                          NEWSPAPERS

 54.   In addition to its power of audit, § 6852 of the Internal Revenue Code provides that if the

       IRS determines that an organization has violated the Johnson Amendment, the Service may

       immediately determine the amount of income and § 4955 tax due. Moreover, § 7409 grants

       the IRS the power to seek an injunction against an exempt organization that flagrantly

       violates the political campaign prohibition to prevent further political expenditures by the

       organization.

 55.   Despite this authority, the IRS routinely allows favored organizations to openly and

       notoriously violate the Johnson Amendment.

 56.   There are hundreds of newspapers that are owned by and operated as nonprofits under §

       501(c)(3). Many such newspapers routinely endorse political candidates.

 57.   Upon information and belief, the IRS has never enforced the Johnson Amendment against a

                                                 17
Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25     Page 18 of 73 PageID #: 242



       nonprofit newspaper.

 58.   The Philadelphia Inquirer is the largest newspaper in the nation owned by a §

       501(c)(3) nonprofit organization, the Lenfest Institute. “The Philadelphia Inquirer

       is the largest American newspaper owned by a nonprofit and dedicated to public

       service. The Lenfest Institute is joined by thousands of individual donors in

       supporting investigative journalism, diversity, and product innovation at The

       Inquirer.” https://www.lenfestinstitute.org/our-work/the-philadelphia-inquirer/.

 59.   Its own website (https://www.lenfestinstitute.org/our-work/the-philadelphia-inquirer/)

       further describes The Philadelphia Inquirer’s ownership and operation as follows:

          Inquirer ownership

          The Lenfest Institute for Journalism is a non-profit LLC formed for charitable

          and educational purposes. The Institute is The Inquirer’s non-controlling

          majority shareholder.

          The Institute is an affiliate of The Lenfest Institute for Journalism Special Asset

          Fund of Philadelphia Foundation (Formerly The Philadelphia Foundation Special

          Assets Fund), a tax-exempt organization under the Internal Revenue Code

          Section 501(c)(3) and a public charity. Neither The Institute nor TPF control The

          Inquirer. Instead, The Inquirer’s Board of Directors is responsible for operational

          and key decision-making. The Inquirer remains a for-profit business, a “B-Corp”

          or Public Benefit Corporation.

          Although the Institute technically owns The Inquirer, under the legal structure–

          and to protect its editorial independence – The Inquirer operates independently

          under its current management team and its Board of Directors.

          The Institute owns 9,999 non-voting shares in The Inquirer. The charitable
                                                18
Case 6:24-cv-00311-JCB           Document 20        Filed 02/21/25      Page 19 of 73 PageID #: 243



             Inquirer Trust holds the one voting share of stock of The Inquirer. The trustees

             of the charitable trust are the same as the members of the Board of Directors of

             The Inquirer. The purpose of the charitable trust was to vest control of The

             Inquirer in the hands of its Board of Directors so as to ensure it would be operated

             independently from the Institute and maintain editorial independence.

             The Institute’s Board of Managers governs the tax-exempt mission of the

             Institute. Although inherently connected to The Inquirer, these are independent

             bodies with independent missions and independent responsibilities.

   60.     Thus, the Lenfest Institute is a 501(c)(3) organization that uses its money to fund the

           publication of The Philadelphia Inquirer. The Philadelphia Inquirer, in turn, regularly

           issues formal endorsements for political candidates, almost always members of the

           Democratic Party. Its endorsements in the 2024 primary election can be found here:

           https://www.inquirer.com/opinion/editorials/inq2/inquirers-2024-primary-endorsement-

           guide-20240419.html. Its endorsements for 2023 can be found here:

            https://www.inquirer.com/opinion/inq2/2023-general-election-endorsements-

           20231021.html. Its endorsements for 2022 can be foundhere:

            https://www.inquirer.com/opinion/inq2/2022-election-pennsylvania-endorsements-guide-

           20221009.html.

 61.     The Lenfest Institute uses its nonprofit resources to publish a newspaper that endorses

         political candidates. Despite its elaborate corporate structure, there is no doubt that a

         nonprofit is funding a newspaper that endorses political candidates. This clearly violates the

         Johnson Amendment. The IRS allows this to proceed unhindered.

 62.     The Positive Futures Network is a 501(c)(3) organization that owns Yes!Media which

         publishes Yes!Magazine. About YES! - YES! Magazine Solutions Journalism
                                                    19
Case 6:24-cv-00311-JCB       Document 20       Filed 02/21/25     Page 20 of 73 PageID #: 244



       (yesmagazine.org). This online news source endorsed Bernie Sanders for president in 2016

       in the Democratic primary and explicitly said “A Trump presidency would be a climate

       disaster.” Choosing a President in a Time of Climate Crisis - YES! Magazine Solutions

       Journalism (yesmagazine.org).
       The IRS allowed this unlawful activity to proceed unhindered.

 63.   Witness LA is an online newspaper that solicits tax-deductible contributions “through

       Community Partners, our fiscal sponsor.” Support WitnessLA|. It issued endorsements in

       the 2012 election for Congress, District Attorney, and President (“OH, YEAH, AND FOR

       THE OFFICE OF PRESIDENT OF THE UNITED STATES, WE RECOMMEND:

       Barak Obama. (But you probably knew that.”)) (Emphasis in original.) The WitnessLA

       November 2012 Elections Endorsements |. The IRS allowed this to proceed unhindered.

 64.   Real News Project, Inc., is 501(c)(3) organization that publishes WhoWhatWhy—an online

       newspaper. It takes a position on elections that clearly violates the Johnson Amendment’s

       prohibitions on making statements that support or oppose candidates. For example, in the

       runup to the 2016 election, WhoWhatWhy published a long anti-Donald Trump article

       (https://whowhatwhy.org/opinion/editorial-donald-trump/) which included the following:

          Like it or not, Trump is as much an American as Martin Luther King. If it hadn’t

          been for people like Trump in the past, there would have been no need for people

          like King. You cannot wash racism, ignorance and demagoguery out of American

          history…It is fatuous to say Trump is “not who we are.” He is who many of us

          were in the era of slavery and lynching, and who many of us are in the era of

          police shootings and Islamophobia.

          All I can say about Trump is what Mark Twain is alleged to have said about the

          Jews: “Jews are part of the human race. Worse than that, I cannot say of them.”

                                               20
Case 6:24-cv-00311-JCB        Document 20       Filed 02/21/25        Page 21 of 73 PageID #: 245



          The fears Trump stokes are our own. Democracy is ever at risk from demagogues

          and would-be “strong men.” The test is whether we succumb to their

          blandishments, or whether we offer allegiance to those who summon what

          Abraham Lincoln called “the better angels of our nature.”

       In the runup to the 2024 election it published another anti-Trump article (Donald Trump:

       Political Force or Political Farce? - WhoWhatWhy) that included the following:

          It’s like that with Trump. Obviously, people should be afraid of a malignant

          narcissist who leads a cult of heavily armed, gullible idiots. That’s a scary

          prospect… and it’s going to be a problem for as long as he is around.

          As a result, the danger he poses to democracy and stability in the US is also very

          real… and of course it would be amplified if he ever returned to the White House

          again.

       The IRS allows this to proceed unhindered.

 65.   Growing Community Media is a 501(c)(3) organization that publishes the Wednesday

       Journal of Oak Park and River Forest. Growing Community Media NFP (neoncrm.com). It

       publishes many anti-Trump articles including one that contained the following, dated July

       19, 2024: https://www.oakpark.com/2024/07/16/thoughts-and-prayers-for-donald-trump/:

          You didn’t deserve to be shot, but you do deserve to be defeated at the polls in

          November, and I don’t want you to die because I want you to experience that

          defeat. It’s the only way to kill (if you’ll excuse that violent phrasing) the

          authoritarian, anti-democratic movement you represent. Killing a person doesn’t

          kill off an ideology, even one as reprehensible as yours.

       The IRS allows this to proceed unhindered.

 66.   Washington Monthly is a 501(c)(3) organization. https://washingtonmonthly.com/about/. A
                                                21
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 22 of 73 PageID #: 246




       staff writer for this online news source endorsed Kamala Harris for president in the 2024

       election prior to President Biden’s withdrawal. The piece was published on July 11, 2024,

       and explicitly said “[o]nly one person can build on the administration’s accomplishments,

       have unfettered access to funds and ballot lines, and do so without wasting precious time.

       Her name is Kamala Harris.” https://washingtonmonthly.com/2024/07/11/im-a-dnc-

       member-and-a-public-opinion-professional-its-highly-unlikely-biden-can-win/. The IRS

       allows this to proceed unhindered.

 67.   Subsequent to Biden’s withdrawal, the Washington Monthly published a second

       endorsement article by one of its editors. Here is another endorsement article for Kamala

       Harris for president from the Washington Monthly. This piece was published on July 22,

       2024, and said “[f]ortunately, Biden was able to recognize his limitations, stand down, and

       lift Harris up. His Number Two, with sharper communication skills, has the ability to defend

       the record of the last four years and erode the rhetorical foundation of Trump’s comeback

       campaign.

 68.   At the risk of being excessively optimistic amid an exhilarating moment, I believe the former

       prosecutor can set the economic record straight. If she does, the presidential election won’t

       be all that close.” https://washingtonmonthly.com/2024/07/22/kamala-can-correct-trumps-

       tallest-tale/. The IRS allows this to proceed unhindered.

 69.   The Red & Black Publishing Company, Inc is a 501(c)(3) organization that publishes The

       Red & Black. https://www.redandblack.com/site/about_the_redblack.html. This online

       news source explicitly endorsed Stacey Abrams on October 25, 2018, and said

       “ENDORSEMENT:            Athens      and   UGA   need       Stacey   Abrams   as   governor.”

       https://www.redandblack.com/opinion/endorsement-athens-and-uga-need-stacey-abrams-

                                                   22
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 23 of 73 PageID #: 247



       as-governor/article_8907626c-d7cf-11e8-8898-6fb2ff2111b4.html. The IRS allows this to

       proceed unhindered.

 70.   Capital Region Community Media Inc is a 501(c)(3) organization that publishes the online

       news source, The Bridge. https://montpelierbridge.org/about/. The Bridge published a piece

       on April 22, 2016 under a double byline. The first is Tom Brown identified as its contributing

       editor. The second is Thomas Mullholland, who is not further identified. This Opinion piece

       explicitly endorsed Bernie Sanders as the democratic nominee. The piece said “[i]f Sanders

       is not nominated at the Democratic National Convention I will vote for him as a write-in

       candidate. To vote for Hillary Clinton is a disavowal of the revolution. This I will not do.”

       https://montpelierbridge.org/2016/04/opinion-vote-for-bernie/. The IRS allows this to

       proceed unhindered.

 71.   Forward Assoc Inc is a 501(c)(3) organization that publishes the online news source,

       Forward. https://forward.com/about-us/. The Forward published a piece on June 28, 2024

       that expressly opposed presidential candidate, Donald Trump. The piece said “[i]n 2016,

       Trump’s outrageousness was rewarded with the presidency. Over the past four years, many

       of us have let fade the memory of the profound rot in our culture that followed his first term

       in office; the sense of rot we felt in our own souls. This time, we cannot treat his lies with

       the same cavalier attitude. We owe it to the U.S. — and the world — to react.”

       https://forward.com/opinion/628743/trumps-lies-debate-biden/. The IRS allows this to

       proceed unhindered.

 72.   Street Sense Media is a 501(c)(3) organization that publishes the online news source, Street

       Sense Media. https://streetsensemedia.org/about/. Street Sense Media published a piece on

       April 29, 2020 that expressly endorsed Biden for president. It is written by Jeff Taylor who

       is identified as a vendor for Street Sense Media. The piece said that “[t]here’s a saying that,
                                                  23
Case 6:24-cv-00311-JCB         Document 20       Filed 02/21/25     Page 24 of 73 PageID #: 248



       much to my displeasure, rings true: Republicans fall in line, Democrats fall in love. This

       November there will undoubtedly be some Democrats who aren’t in love with Joe Biden.

       I’m here to say to them, “Get over yourself and do what needs to be done to quite literally

       save the world. Vote for Joe Biden.” But I suspect the vast majority of Democrats (and

       others) will be excited to do so, especially after Obama, Warren, and yes, Sanders, among

       others, help them to fully understand that everything, and I mean EVERYTHING is at

       stake!” https://streetsensemedia.org/article/get-excited-for-president-biden/. The IRS allows

       this to proceed unhindered.

 73.   Stocktonia News Group Inc is a 501(c)(3) organization that publishes the online news

       source, Stocktonia News Service. https://stocktonia.org/about/. Stocktonia News Service

       published a piece on February 24, 2024 that strongly opposed one candidate, Tom Patti, in

       the primary election for mayor of Stockton. In somewhat milder terms, it opposed Christina

       Fugazi in the same six-way primary. The piece concluded, “Better still, select from the other

       mayoral candidates, Jesus Andrade, Jessica Velez, Shakeel Ahmad, and Dan Wright. They

       offer    a     choice      between      politicos    with      no     toxic     affiliations.”

       https://stocktonia.org/news/opinion/2024/02/24/its-the-corruption-stupid/. The IRS allows

       this to proceed unhindered.

 74.   The San Antonio Report is a 501(c)(3) organization that publishes the online news source,

       The San Antonio Report. https://sanantonioreport.org/about-us-3/. The San Antonio Report

       published a piece on December 24, 2023 that expressly condemned presidential candidate,

       Donald Trump. It was written by Robert Rivard who is identified as the co-founder of the

       San Antonio Report. The piece said that “[w]e are entering a presidential election year with

       the first state primaries one month away. Candidate Trump infamously has doubled down

       on his dehumanizing slander that immigrants are ‘poisoning the blood of our country.’ Those
                                                 24
Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25     Page 25 of 73 PageID #: 249



       are cruel words from a nativist whose mother and grandfather were immigrants. Two of his

       three wives were immigrants. Yet all were white, undoubtedly the telling difference for

       Trump in his contempt for the Mexicans he has vilified since he announced his candidacy

       for president at Trump Tower in 2015.” https://sanantonioreport.org/a-nation-founded-by-

       immigrants-needs-to-safeguard-its-values/. The IRS allows this to proceed unhindered.

 75.   Patagonia Regional Times is a 501(c)(3) organization that publishes the online news source,

       Patagonia Regional Times. https://patagoniaregionaltimes.org/about-us/. This online news

       source published a piece by one of their contributors on February 1, 2023 that expressed

       condemnation of presidential candidate, Donald Trump. The piece said that “[n]obody’s

       never heard of Donald Trump. He clearly knows instinctively what every ad man knows:

       There’s no such thing as bad publicity. I’m not among his devotees, as you will know if you

       have read this rustic rag before. But there is no ignoring that he hates being ignored. He’s

       huge. So big that even we who think of Donald as a miscreant cannot deny his massive

       influence.” It continues: “When some ambitious psychopath just farts at decency, it

       stimulates the billion little pathogens out there, who, bored with waiting in the wings, and

       seeing what he gets away with based on The Big Lie, are hungry, antsy, and impatient to

       give it a try. We’re threatened with a vast pandemic now, more dangerous than Omicron can

       be, when copycats like Bolsonaro, Kari, Marjorie and Matt – along with Greasy Rudy and

       small, wormlike Lindsay Graham, will wag their crooked tongues and hawk their sick,

       corrosive lies, and see it as success if true democracy just dies.”

       https://patagoniaregionaltimes.org/life-among-the-humans-none-of-your-rules-apply-to-

       me/. The IRS allows this to proceed unhindered.

 76.   Kentucky Center for Public Service Journalism is a 501(c)(3) organization that publishes the

       online news source, The NKyTribune. https://nkytribune.com/who-we-are-2/. This online
                                                 25
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 26 of 73 PageID #: 250



       news source published a piece in April 2024 (no specified date given in article beyond month

       and year) that condemned presidential candidate, Donald Trump. The piece said that “[i]n a

       weird way, it doesn’t much matter what Trump has done in the past. What is frightening is

       what he plans to do in the future if he returns to power — using the Justice Department to

       get revenge on his foes, initiating a more authoritarian government, implementing lessons

       he’s learned from his heroes Viktor Orban, the prime minister of Hungary, and Recep Tayyip

       Erdoğan, the president of Turkey, further undermining the democratic process and destroying

       NATO, thus threatening world stability.” https://nkytribune.com/2024/04/opinion-bill-straub-

       fathoming-the-unfathomable-is-just-incomprehensible-no-matter-how-you-look-at-it/.        The

       IRS allows this to proceed unhindered.

 77.   National Catholic Reporter is a 501(c)(3) organization that publishes the online news source,

       National Catholic Reporter. https://www.ncronline.org/mission-and-values. This news

       source published a piece on September 19, 2023 that condemned presidential candidate,

       Donald Trump. The piece said:

           Here was new American politics where the lying, the language, the late-night TV

           show were being used to squeeze the concept of "Republic" out of the United

           States and turn it into a demagoguery minus a Senate-approved Cabinet. We had

           gotten ourselves a tiny little king. But how? Who was voting for him? Who would

           put someone like that — an accused liar, thief, rapist, egomaniac — into the

           highest office in the land? And why? Who would support this kind of political

           chicanery themselves? What kind of people — what kind of country — were we

           who would simply step aside and allow the walls of decency, dignity and public

           political values to collapse? And all of it with the kids of the nation in the room

           watching us and who now, as a result, had no political steel of the soul left to
                                                  26
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 27 of 73 PageID #: 251



           admire. Living through this kind of presidency once is difficult enough. The very

           thought that this could become the tone of America's politics in the future is

           dizzying. Terrifying maybe: As in, bring on the guns. Stop the immigrants.

           Forget the allies. Dally with dictatorships. And you can forget "Invictus," too —

           "I am the master of my fate; I am the captain of my soul" — as you watch our

           democracy go slowly by.”

       https://www.ncronline.org/opinion/ncr-voices/where-are-we-getting-our-values-these-days.

       The IRS allows this to proceed unhindered.

 78.   A second article from the National Catholic Reporter, published on July 8, 2024, that also

       condemned presidential candidate, Donald Trump and his potential presidential team. The

       article said that “Biden's opponent was combative and on message, even though almost every

       word out of his mouth was a lie. The president's performance made us sad; Donald Trump's

       performance was scary. Also scary are the people with whom the former president will

       surround himself if he returns to the White House. The presidency is not a single person; it

       is also all the people the president brings to the executive branch to run the government.

       Many of the experienced people who surrounded Trump in his first term have denounced

       him and endorsed Biden. The second Trump presidency will be filled with incompetent

       sycophants.” https://www.ncronline.org/opinion/guest-voices/old-president-and-old-pope.

       The IRS allows this to proceed unhindered.

 79.   Foundation for National Progress is a 501(c)(3) organization that publishes the online news

       source, Mother Jones. https://www.motherjones.com/about/. This news source published an

       article on May 31, 2023 that condemned Ron DeSantis as the Republican nominee. The piece

       said that “[i]t can feel pointless to fact-check a candidate who does not care that he’s wrong.

       But in kicking off his campaign in this way, DeSantis is echoing the style and politics of the
                                                  27
Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25      Page 28 of 73 PageID #: 252



       man he seeks to supplant, Donald Trump, who began his own bid for president eight years

       ago by characterizing migrants who were crossing the southern border as “rapists.” Trump

       was lying then, but he told that lie because he meant it. This is not a trivial slip-up from

       DeSantis, either. It is a falsehood that expresses a truth: Whether your papers say you belong

       here is not the same thing as whether Ron DeSantis and his fans think you do.”

       https://www.motherjones.com/politics/2023/05/ron-desantis-cant-stop-smearing-asylum-

       seekers/. The IRS allows this to proceed unhindered.

 80.   Isthmus Community Media Inc is a 501(c)(3) organization that publishes the online news

       source, Isthmus. https://isthmus.com/about. This news source published an article on

       November 8, 2023 that expressly endorsed anyone but presidential candidate, Donald

       Trump. The piece said that “I have one goal for the election that will take place exactly a

       year from now: Make sure Donald Trump does not return to the White House.”

       https://isthmus.com/opinion/citizen-dave/time-to-break-from-joe-biden/. The IRS allows

       this to proceed unhindered.

 81.   Midwest Center for Investigative Reporting Inc is a 501(c)(3) organization that publishes

       the online news source, Investigate Midwest. https://investigatemidwest.org/about/. This

       news source published an article on March 27, 2024 that expressly condemned the

       presidential candidate, Donald Trump. The article said that “[f]armers should beware a

       second Trump term…Those who cannot remember the past are condemned to repeat it.

       Don’t say you haven’t been warned.” https://investigatemidwest.org/2024/03/27/farmers-

       should-beware-a-second-trump-term/. The IRS allows this to proceed unhindered.

 82.   In These Times is a 501(c)(3) organization that publishes the online news source, In These

       Times. https://inthesetimes.com/about. This news source published an article on February 9,

       2024 that expressly condemned presidential candidate, Donald Trump. The article said that
                                                 28
Case 6:24-cv-00311-JCB           Document 20         Filed 02/21/25        Page 29 of 73 PageID #: 253



       “Trump is trying to court union members by saying he’s a ‘friend’ to labor—but he’s actually a

       billionaire scab out to strip workers of their rights.” https://inthesetimes.com/article/donald-trump-

       labor-union-teamsters-uaw. The IRS allows this to proceed unhindered.


 83.   Highway58Herald.org is a 501(c)(3) organization that publishes the online news source,

       Highway 58 Herald. https://highway58herald.org/about/. This news source published an

       article on July 3, 2024 that expressly condemned presidential candidate, Donald Trump. The

       article said that “Joe Biden is a good man and he’s done a good job as president, but his

       showing in the debate was so shaky that I wish he would do the right thing and step aside.

       He’s too old, I’m sorry. The Dems have half a dozen potential candidates who would wipe

       the floor with Trump, who is — repeat after me — a vile, buffoonish con man, liar, braggart,

       cheat, fool, felon, groper and, worst of all, a traitor to democracy and to our Constitution.”

       https://highway58herald.org/the-vengeful-old-rose-and-other-musings/. The IRS allows this

       to proceed unhindered.

 84.   High Country News is a 501(c)(3) organization that publishes the online news source, High

       Country News. https://www.hcn.org/about/. The news source published an article on July

       17, 2024 that expressly condemned presidential candidate, Donald Trump. The article said

       that “[g]iven everything Trump did — or tried to do — during his first term and since it

       ended, and given all he’s promised to do in the future, it’s hardly extreme or inflammatory

       to call on Americans to stand up and stop him.” https://www.hcn.org/articles/who-is-

       spouting-violent-rhetoric/. The IRS allows this to proceed unhindered.

 85.   El Tecolote is a 501(c)(3) organization that publishes the online news source, El Tecolote.

       https://eltecolote.org/content/en/about/. This news source published an article on October

       27, 2021 that endorsed David Campos for California’s 17th Assembly District. The article

                                                     29
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 30 of 73 PageID #: 254



       said that “David Campos’ experience, ideological conviction make him the best candidate

       for District 17 seat.” https://eltecolote.org/content/en/david-campos-experience-ideological-

       conviction-make-him-the-best-candidate-for-district-17-seat/. The IRS allows this to

       proceed unhindered.

 86.   Latino Media Collaborative is a 501(c)(3) organization that publishes the online news

       source, CALÓ News. https://www.calonews.com/site/about.html. The news source

       published an article on November 1, 2022 that endorsed Karen Bass for LA mayor. The

       article said that “EDITORIAL: CALÓ NEWS endorses Karen Bass for LA mayor.”

       https://www.calonews.com/news/politics/editorial-cal-news-endorses-karen-bass-for-la-

       mayor/article_40666526-c46d-5d76-91f7-128757550e36.html. The IRS allows this to

       proceed unhindered.

 87.   The IRS has issued a private letter ruling concerning the student newspaper at Northwestern

       University. The publications “include endorsement of political candidates in partisan

       campus races.” In addition, the newspaper “has plans to report in a similar manner off-

       campus elections.” The IRS concluded that such political endorsements for candidates in on-

       campus or off-campus races (i.e., races for government positions) were not in violation of

       the Johnson Amendment. https://www.thefire.org/research-learn/irs-letter-daily-

       northwestern.

 88.   In Rev. Rul. 72-513, 1972-2 C.B. 246, the IRS determined that a student newspaper funded

       by a university operating under § 501(c)(3) did not violate the Johnson Amendment by virtue

       of the publication of endorsements for political office in such newspapers.

                               DEMOCRATIC CAMPAIGN ACTIVITY
                                       IN CHURCHES

 89.   On July 7, 2024, President Joseph Biden was the featured speaker at the Mount Airy Church

                                                  30
    Case 6:24-cv-00311-JCB           Document 20           Filed 02/21/25   Page 31 of 73 PageID #: 255



          of God in Christ in Philadelphia, Pennsylvania. There is no doubt that this visit crossed the

          line established by the Johnson Amendment in multiple respects. For example:

          ● The church’s board member leading prayer asked for God’s blessing on President Biden

               in unobjectionable ways, but then said, “[o] God, bless each and every voter, to get out

               the vote, Jesus.” And, later in the same prayer (concerning the people in the

               congregation), said, “[h]elp us to know what is going on politically so we can make the

               right decision.”1

          ● The church’s pastor delivered a lengthy sermon that laced numerous discussions about

               President Biden with various Scriptural passages, stories, and illustrations.

          ● The pastor began a series of comparisons between President Biden and Donald Trump,

               although the name Trump was never spoken.2 There was no doubt of his meaning in any

               of these instances.

          ● The pastor said, “[t]his president doesn’t sell Bibles, he actually reads the Bible.”3 This

               was a statement that clearly communicated that President Biden reads the Bible, a

               favorable fact, while former President Trump merely sells Bibles, an unfavorable fact.

               This comparison was deliberately made to communicate a favorable view of Biden and

               an unfavorable view of Trump, which was clearly understood by the audience.

          ● The pastor said, “[w]e need to challenge the notion that there are people on the

               conservative side of the political perspective who are right. We need to challenge that

               notion because you can’t kill police officers on January 6 and be right...Our president is

               a man of love a man of compassion…[Regarding the pandemic] this man who brought

               us back to health, …don’t get amnesia and forget it was this man who took an economy


1
  https://youtu.be/eANfPiAbWSM?t=1749 at 29:09 to 30:41.
2
  https://youtu.be/eANfPiAbWSM?t=3401 at 56:41-57:10.
3
  https://youtu.be/eANfPiAbWSM?t=3539 at 58:57-59:02.
                                                           31
    Case 6:24-cv-00311-JCB             Document 20          Filed 02/21/25   Page 32 of 73 PageID #: 256



                 that was on the ropes and brought us back to prosperity…we pray for you…we love you

                 President Biden…be encouraged…”4

             ● Again, the pastor compared Biden and Trump in the June 2024 debate. “Our president is

                 a man of vision and integrity. And since our president is right let us correct the record

                 the notion that a few days ago during a debate he was accused of never having fired

                 anybody. He fired the one who accused him of never firing anybody.”5 The pastor said,

                 “[l]et the record show that the election of 2020 was not stolen…What did happen was a

                 call to Atlanta Georgia to find me 11,000 votes.”6

             ● The pastor said, “I don’t know why you want to make an issue of the President and his

                 condition with stammering and not being able to bring forth words at certain times while

                 another person lies fluently, and you never challenge his lies.”7

             ● In a sequence where the pastor challenged the “lies” of Trump and his political party, the

                 pastor said (implicitly concerning his political party): “You are not the party of law, we

                 are the party of law. We are the party of right. We are the party of law. We are the party

                 of respect. We are the party of reconciliation. We have the big tent. We have genuine

                 love for America.”8

             ● The pastor closed his sermon with a lengthy analogy between Joseph (of the coat of many

                 colors in the Book of Genesis) and Joseph Biden. This long sequence was laced with the

                 pastor leading the congregation in a chant of “Go Joseph,” sometimes referring to the

                 Old Testament hero and sometimes referring to President Biden.9


4
    https://youtu.be/eANfPiAbWSM?t=3560 at 59:22-1:00:49.
5
  https://youtu.be/eANfPiAbWSM?t=3730 at 1:02:08-1:02:39.
6
  https://youtu.be/eANfPiAbWSM?t=3775 at 1:02:51-1:03:38.
7
  https://youtu.be/eANfPiAbWSM?t=3820 at 1:03:43-1:04:04.
8
  https://youtu.be/eANfPiAbWSM?t=3849 at 1:04:17-1:04:50.
9
  https://youtu.be/eANfPiAbWSM?t=4157 at 1:09:20-1:11:05.

                                                            32
     Case 6:24-cv-00311-JCB          Document 20         Filed 02/21/25   Page 33 of 73 PageID #: 257



            ● In this final sequence, the pastor closed his sermon saying, “[y]ou have a dream. I have

               a dream. The President has a dream of keeping America safe for four more years. A

               dream of keeping democracy safe. A dream of giving us prosperity. A dream of keeping

               us in peace. A dream of reducing hatred, racism, sexism, and bigotry. Joseph has a dream.

               If Joseph could get out of the pit, If Jesus could get out of the pit, President Biden is

               coming back. He’s a fighter, he’s a champion. He’s the comeback kid. Hallelujah. Let

               us pray.”10

            ● President Biden’s speech was a mixture of some Scripture verses, spiritual sayings, and

               clear political messaging on issues like student loans, the economy, and many other

               issues that were normal campaign rhetoric.

            ● President Biden ended his speech admonishing the congregation that he and the

               congregation should continue to “work together.”11

            This church service, and other church services like it that promote Democratic candidates,

            are not challenged or limited in any fashion by the IRS.

      90.   On January 8, 2024, President Biden was the featured speaker at Mother Emanuel AME

            Church in Charleston, South Carolina. He was introduced by Representative Jim Clyburn in

            a lengthy and explicit political endorsement of Biden’s reelection. Among other things,

            Clyburn:

            ● Praised President Biden’s efforts to forgive student loans.12

            ● Asked the crowd who they wanted to oversee the program of student loan forgiveness,

               Biden or Trump? “Trump doesn’t even want the program.”13



10
   https://youtu.be/eANfPiAbWSM?t=4268 at 1:11:08-1:14:48.
11
   https://youtu.be/eANfPiAbWSM?t=4946 at 1:22:18-1:22:33.
12
   https://youtu.be/ebT-nbVzJns?t=271 at 4:27-9:02.
13
   https://youtu.be/ebT-nbVzJns?t=546 at 9:03-9:33.
                                                         33
     Case 6:24-cv-00311-JCB              Document 20      Filed 02/21/25     Page 34 of 73 PageID #: 258



              ● Condemned Trump’s nominees on the Supreme Court for reversing Roe v. Wade.14

              ● Praised President Biden for planning to preserve abortion rights.15

              ● Said, “It is with great pride that I present to you the man best qualified, the man totally

                  committed to making every American a part of the American dream, Joe Biden.”16

              ● The congregation responded to this introduction with chants of “four more years.”17

              ● President Biden discussed several standard political issues, such as his healthcare and

                  economic achievements, lacing his comments with statements like, “Trump is a loser.”18

              ● Biden ended his remarks in this South Carolina church with a statement that there was

                  much work yet to be done and that “we need to keep the faith and do it together.”19

              This church service, and other church services like it, that promote Democratic candidates

              are not challenged or limited in any fashion by the IRS.

       91.    A press release dated Sunday, January 5, 2020, issued by the Biden for President campaign

              indicated that “Vice President Biden Worshiped at Corinthian Baptist Church this morning.”

              The press release contained the following endorsement by this church’s Associate Minister,

              Rev. Rob Johnson:

                  After serving as Vice President for eight years, I believe Joe Biden has seen what

                  it is going to take to be the President of the United States," said Rev. Rob Johnson

                  Associate Minister in Des Moines. "Joe can tell voters not only what he wants to

                  do, but what he's done — passed the Violence Against Women Act, banned

                  assault weapons and helped get Obamacare across the finish line. The Vice

14
     https://youtu.be/ebT-nbVzJns?t=698 at 11:33-11:57.
15
     https://youtu.be/ebT-nbVzJns?t=718 at 11:58-12:21.
16
   https://youtu.be/ebT-nbVzJns?t=1210 at 20:06-20:25.
17
   https://youtu.be/ebT-nbVzJns?t=1267 at 21:05-21:24.
18
   https://youtu.be/ebT-nbVzJns?t=2133 at 35:33-35:46.
19
   https://youtu.be/ebT-nbVzJns?t=3185 at 53:05-53:39.

                                                          34
     Case 6:24-cv-00311-JCB           Document 20           Filed 02/21/25            Page 35 of 73 PageID #: 259



                President can empathize with folks and feel their pain. He knows what pain looks

                and feels like from his own experiences. When my nephews look at the President

                of the United States, I want them to find hope and see a leader they can look up

                to. In the next 29 days, I'm eager to help lead the Biden campaign's faith outreach

                efforts and speak with caucus-goers and people of Faith across the state about

                Joe's mission to restore the soul of this nation.

                The press release also stated: “In helping to lead Biden for President's Iowa Faith

                Outreach efforts, Rev. Johnson will travel across the state and speak in churches

                about Biden's efforts to restore the soul of the nation and grow the middle

                class.”20

            This kind of promotion of Democratic campaigns in churches goes unhindered by the IRS.

      92.   On May 19, 2024, this same Rev. Kevin R. Johnson gave the message during the Pentecost

            Sunday Worship Service at Abyssinian Baptist Church in New York City. Among many

            other statements that clearly violate the Johnson Amendment, the Rev. Johnson said:

                Don’t you know, beloved, that since 2021 Republican controlled state houses

                have passed a swarm of laws to restrict voting rights, increase penalties for public

                protest, and pose new restrictions on transgender youth and ban books…this is

                not the time for the church to not be united. While we are sitting up here doing

                other stuff, they are planning a 2025. This is not the time for the church to not be

                united. We’ve got to make sure the people get out and vote this November like

                never before. This is not the time…you can’t turn your back on Biden because

                what are you turning your back to. Beloved, this is not the time. This is not the


20
    https://www.presidency.ucsb.edu/documents/biden-campaign-press-release-rev-rob-
johnson-endorses-joe-biden-will-help-lead-campaigns. Accessed August 8, 2024.
                                                            35
     Case 6:24-cv-00311-JCB           Document 20           Filed 02/21/25   Page 36 of 73 PageID #: 260



                time.21

            This kind of church service favoring Democratic candidates goes on unhindered by the IRS.

      93.   On January 15, 2023, President Biden spoke at Ebenezer Baptist Church in Atlanta, Georgia to

            commemorate Dr. Martin Luther King, Jr. Sen. Raphael Warnock introduced Biden by saying

            that he was “inspired by [Biden’s] lifelong commitment to service”22 by the way “in which he

            has transformed his pain into power.”23 Biden said:

            ● “This is the time of choosing. This is the time of choosing direct choices we have. Are

               we a people who will choose democracy over autocracy?”24

            ● “It is still the task of our time to make [Martin Luther King’s dream] a reality because it

               is not there yet.”25

            ● “That’s what I try to do every day—to build a future we all want.”26

            ● “But at this inflection point, we know that there is a lot of work that has to continue in

               economic justice, civil rights, voting rights, and protecting our democracy…”27

            ● That he has a bust of Martin Luther King and Rosa Parks in the Oval Office.28

            ● “My message to the nation on this day is we go forward. We go together…”29

            ● “May God bless you all and let’s go find the light. We can do this!”30

            This kind of promotion of Democratic campaigns in churches goes unhindered by the IRS.

      94.   On September 15th, 2019, Joe Biden, while a presidential candidate, spoke for about twenty



21
   https://youtu.be/jTYvP125pMY?t=229 at 3:48-4:52.
22
   https://youtu.be/Uf4wBIjVS40?t=44 at 0:47-0:54.
23
   https://youtu.be/Uf4wBIjVS40?t=186 at 3:04-3:15.
24
   https://youtu.be/Uf4wBIjVS40?t=1328 at 22:08-22:21.
25
   https://youtu.be/Uf4wBIjVS40?t=1523 at 25:22-25:27.
26
   https://youtu.be/Uf4wBIjVS40?t=1716 at 28:35-28:43.
27
   https://youtu.be/Uf4wBIjVS40?t=1858 at 30:56-31:10.
28
   https://youtu.be/Uf4wBIjVS40?t=1944 at 33:22-34:00.
29
   https://youtu.be/Uf4wBIjVS40?t=2066 at 34:27 to 34:31.
30
   https://youtu.be/Uf4wBIjVS40?t=2200 at 36:40 to 36:43.

                                                            36
     Case 6:24-cv-00311-JCB           Document 20        Filed 02/21/25       Page 37 of 73 PageID #: 261



            minutes at the 16th Street Baptist Church in Birmingham, Alabama as the church

            commemorated the bombing in 1963. Guest speaker Rev. Dr. Ruth Naomi Segres delivered

            the sermon. She spoke on the story of Job, then transitioned to the black experience during

            segregation in America, and then to the racism of the present day. “Keep the story alive!” she said.

            A young singer in the church sang a gospel song, and then Biden took the pulpit. His remarks

            included the following:

            ● Agreement with Segres that racism is still alive and that we need to fix it.

            ● “Now hate is on the rise again. We’re at a defining moment again in American history.”31

            ● “I know there is nothing we can’t accomplish if we stand together. Stand against hate.

                Stand for, what at best, our nation believes—honesty, decency, treating everyone with

                dignity and respect, giving everyone a fair shot, leaving nobody behind, giving hate no

                safe harbor, demonizing no one…and that’s why I believe so passionately that we have

                got to work to bring this country together.”32

            ● “So, my prayer to all of us this morning is that in this moment when our nation must

                again once decide who we are and what we stand for…and will choose once more to

                fight for our shared American dream.”33

            This kind of promotion of Democratic campaigns in churches goes unhindered by the IRS.

      95.   On June 15, 2008, presidential candidate, Barack Obama, delivered the Father’s Day sermon

            for Apostolic Church of God in Chicago, Illinois. The pastor, Bishop Arthur Brazier,

            introduced future-President Obama as his “good friend who has changed the course of

            America.”34 He added:

            ● Barack Obama loves people, cares about middle-class America, and is “a true patriot.”35
31
   https://www.facebook.com/watch/live/?ref=watch_permalink&v=531779430906778 at 48:46-48:54.
32
   https://www.facebook.com/watch/live/?ref=watch_permalink&v=531779430906778 at 52:30-53:08.
33
   https://www.facebook.com/watch/live/?ref=watch_permalink&v=531779430906778 at 55:43-56:12.
34
   https://youtu.be/uPT2vsuD7lw?t=1063 at 17:42-18:02.
35
   https://youtu.be/uPT2vsuD7lw?t=1104 at 18:20-18:58.
                                                         37
     Case 6:24-cv-00311-JCB           Document 20            Filed 02/21/25   Page 38 of 73 PageID #: 262




           ● “[Michelle Obama] is an outstanding woman, a true patriot, I have known both of them

               for years and they love their country, and they have been responsible for a monumental

               sea change in America.”36

           Another pastor, Byron T. Brazier, introduced Obama as “a man who believes in change.

           Those of us, those who believe in God, believe in being born again, we know what change

           is…”37

           President Obama’s message included the following:

           ● “Yes, we need fewer guns in the hands of people who shouldn’t have it. Yes, we need

               more money for our schools and more outstanding teachers in the classroom and more

               after school programs for our children. Yes, we need more jobs and more job training

               and more opportunity in our community. We know all that. That is why I am running for

               president of the United States of America.”38

           ● “What was interesting was how many people would come up to me and say ‘Barack, we

               love you man, we’re rooting for you, but we just don’t think that a black man can be

               elected president.’ I mean we had already defeated ourselves before we even started…”39

           ● “[Government] should be meeting [fathers] halfway. We should be making it easier for

               fathers who make responsible choices and harder for those who avoid them. We should

               get rid of the financial penalties we impose on married couples right now, and start

               making sure every dime of child support goes directly to helping children instead of

               bureaucrats…”40



36
   https://youtu.be/uPT2vsuD7lw?t=1308 at 21:52-22:07.
37
   https://youtu.be/uPT2vsuD7lw?t=2958 at 49:20-49:40.
38
   https://youtu.be/uPT2vsuD7lw?t=3662 at 1:01:03-1:01:25.
39
   https://youtu.be/uPT2vsuD7lw?t=4170 at 1:09:30-1:09:48.
40
   https://youtu.be/uPT2vsuD7lw?t=4572 at 1:16:12-1:16:33.

                                                             38
     Case 6:24-cv-00311-JCB           Document 20            Filed 02/21/25   Page 39 of 73 PageID #: 263




            ● “What kind of world am I leaving [my children]? Are we leaving them a country where

               there is a huge gap between a few people who are wealthy and a whole bunch of people

               who are struggling every day? Am I leaving them a country that’s still divided by

               race…am I leaving them a country where we’re hated around the world because we don’t

               cooperate with other nations…”41

            ● “If we rise up, if we have faith in the Lord, if we’re working hard, if we do what we must

               do as fathers, and as mothers, as grandfathers, and grandmothers, if we’re looking after

               our children, then I promise you better days are ahead. God’s going to lead us in a bright

               direction. God’s going to lead us in a better direction. God bless you all…pray for me.

               Pray for Michelle…”42

            This kind of church service favoring Democratic candidates goes on unhindered by the IRS.

      96.   On March 13, 2016, presidential candidate, Hillary Clinton, appeared as a guest speaker at

            Mount Zion Fellowship Church in Highland Hills, Ohio. Clinton entered to much applause

            and hugged the pastor, and they seemed to stand for a photo op.43 The senior pastor, Ronald

            Williams II said to Clinton, “Secretary, no, we call those things that are not as though they

            are, Miss President.” This was meant as an acknowledgment that she would become

            president. Thunderous applause followed from the congregation.44 Congresswoman Marcia

            Fudge, the pastor’s sister, introduced Clinton with several positive and supportive

            statements:

            ● I’m not just supporting her just because she is a Democrat. It is important to me that she

               is—no question about it. But I am supporting her because she understands me and all the


41
   https://youtu.be/uPT2vsuD7lw?t=4755 at 1:19:14-1:19:40.
42
   https://youtu.be/uPT2vsuD7lw?t=4880 at 1:21:20-1:21:49.
43
   https://youtu.be/tMO7ETk1hdI?t=1857 at 30:55-31:27.
44
   https://youtu.be/tMO7ETk1hdI?t=2240 at 37:25-37:35.

                                                             39
     Case 6:24-cv-00311-JCB          Document 20         Filed 02/21/25   Page 40 of 73 PageID #: 264




               people who are like me. We have to start voting for people who are going to make a

               difference in our lives.45

           ● “The person who is the best qualified candidate on either side of the aisle…”46

           ● Clinton then took the podium and began her speech, which included the following

               statements:

           ● [Referring to the congresswoman] “…and I can’t wait, if I’m so fortunate enough to be

               your president, working with her to make sure we get all the changes we all know we

               need.”47

           ● “I’m running for president because I want to knock down any barrier that stands in the

               way of any American getting ahead and staying ahead in our country.”48

           ● Praise for her husband’s presidency and policies, and criticism of the policies of her

               husband’s replacement.49

           ● “I don’t think President Obama gets the credit he deserves for digging us out of the ditch

               we were put into.” [Met with thunderous applause from congregation and pastor.]50

           ● Several instances of promoting her policies as she would at a campaign event.

           ● “I’m the only candidate who has laid out a comprehensive jobs program.”51

           ● “I want to be a small business president.”52




45
   https://youtu.be/tMO7ETk1hdI?t=2420 at 40:27-40:54.
46
   https://youtu.be/tMO7ETk1hdI?t=2550 at 42:29-42:35.
47
   https://youtu.be/tMO7ETk1hdI?t=2706 at 45:06-45:15.
48
   https://youtu.be/tMO7ETk1hdI?t=2949 at 49:09-49:19.
49
   https://youtu.be/tMO7ETk1hdI?t=3177 at 52:57-53:58.
50
   https://youtu.be/tMO7ETk1hdI?t=3309 at 55:09-55:17.
51
   https://youtu.be/tMO7ETk1hdI?t=3421 at 57:00-57:05.
52
   https://youtu.be/tMO7ETk1hdI?t=3519 at 58:40-58:42.

                                                         40
     Case 6:24-cv-00311-JCB           Document 20            Filed 02/21/25   Page 41 of 73 PageID #: 265




            ● “I can’t get there without your help. I need your help, your support, your guidance, and

               your vote on Tuesday. And I promise you, if you will come vote for me, I will work my

               heart out every single day to make the changes we know we need.”53

            The pastor then walked “the president” out of the service.54

            This kind of church service favoring Democratic candidates goes on unhindered by the IRS.

      97.   Hillary Clinton spoke at Little Rock AME Zion Church in Charlotte, North Carolina on

            October 2, 2016. Her speech included the following:

            ● “We’ve got to take action. We’ve got to start now. Not tomorrow. Not next year. Now.

               We know we can’t solve all these problems overnight, which means we don’t have a

               moment to lose…so let’s hold on to a common vision. Let’s come together to make

               America a place where every child…has the chance to live up to their God-given

               potential.”55

            ● Endorsement of several of her policies throughout the speech.

            ● “Now there are some out there who see this as a moment to fan the flames of resentment

               and division, who want to exploit people’s fears even though it means tearing our nation

               even further apart. They say that all of our problems would be solved with more law and

               order as if the systemic racism plaguing our country doesn’t exist.”56

            ● “I want us to commit ourselves to this common vision. That is why I will build on the

               work that President Obama has done, and I will be sure that this is not just about a




53
   https://youtu.be/tMO7ETk1hdI?t=4212 at 1:10:12-1:10:40.
54
   https://youtu.be/tMO7ETk1hdI?t=4250 at 1:10:55.
55
   https://youtu.be/-EqZGZpOqjc?t=61 at 1:00-1:37.
56
   https://youtu.be/-EqZGZpOqjc?t=369 at 6:10-6:40.

                                                             41
     Case 6:24-cv-00311-JCB             Document 20            Filed 02/21/25          Page 42 of 73 PageID #: 266




                campaign or an election…these are issues I have been fighting for since I was a young

                lawyer…”57

            ● “We will not grow weary, and we will not lose heart. We will get up every single day,

                have faith in one another and in our future and work toward that better day for all of

                God’s people.”58

            This kind of church service favoring Democratic candidates goes on unhindered by the IRS.

      98.   Plaintiffs believe that the activity described in the preceding paragraphs demonstrates

            ongoing, open, and obvious violations of the Johnson Amendment by churches friendly to

            Democratic candidates. However, Plaintiffs contend that all such activity is constitutionally

            protected. Plaintiffs only seek the freedom to engage in similar activity.

                                 IRS TARGETING CONSERVATIVE NONPROFITS
                                       FOR UNFAVORABLE TREATMENT

      99.   On October 26, 2017, United States Attorney General Jeff Sessions announced a settlement

            of two cases brought by groups of conservative political organizations against the IRS.59 His

            statement included the following:

                But it is now clear that during the last Administration, the IRS began using

                inappropriate criteria to screen applications for 501(c) status. These criteria

                included names such as “Tea Party,” “Patriots,” or “9/12” or policy positions

                concerning government spending or taxes, education of the public to “make

                America a better place to live,” or statements criticizing how the country was




57
   https://youtu.be/-EqZGZpOqjc?t=430 at 7:10-7:40.
58
   https://youtu.be/-EqZGZpOqjc?t=609 at 10:10-10:28.
59
    https://www.justice.gov/opa/pr/attorney-general-jeff-sessions-announces-department- justice-has-settled-plaintiff-groups

                                                               42
Case 6:24-cv-00311-JCB        Document 20        Filed 02/21/25      Page 43 of 73 PageID #: 267




          being run. It is also clear these criteria disproportionately impacted conservative

          groups.

          As a result of these criteria, the IRS transferred hundreds of applications to a

          specifically designated group of IRS agents for additional levels of review,

          questioning and delay. In many instances, the IRS then requested highly

          sensitive information from applicants, such as donor information, that was not

          needed to make a determination of tax-exempt status.

      The IRS’s use of these criteria as a basis for heightened scrutiny was wrong and should never

      have occurred. It is improper for the IRS to single out groups for different treatment based

      on their names or ideological positions. Any entitlement to tax exemption should be based

      on the activities of the organization and whether they fulfill requirements of the law, not the

      policy positions adopted by members, or the name chosen to reflect those views.

 100. On October 18, 2020, Pastor Gary Hamrick of Cornerstone Chapel, Leesburg, Virginia

      preached an “election sermon” urging the congregation to vote and to vote consistent with

      the values set forth in the Bible. He compared the political platforms of the two major parties

      vis-à-vis their compatibility with the teachings of the Bible. He clearly stated that the

      Republican Platform was in greater alignment with the Bible than the Democratic Platform.

      And though he explicitly said that people “don’t have to vote for Trump” to be in compliance

      with the Bible’s standards, he made it clear that a vote for a Democratic candidate would be

      unbiblical in light of the content of that party’s platform. Subsequently, the IRS began an

      enforcement action against Cornerstone Chapel because of implicit support or opposition of

      political candidates. The IRS levied and Cornerstone Chapel paid a tax penalty for violating

      the Johnson Amendment. Similar, and even more explicit examples of support or


                                                 43
Case 6:24-cv-00311-JCB        Document 20       Filed 02/21/25      Page 44 of 73 PageID #: 268




      opposition of candidates by 501(c)(3) nonprofits, go unchallenged by the IRS especially if

      the candidates in question are from the Democratic Party.

 101. On June 18, 2021, the Internal Revenue Service issued a letter denying status under §

      501(c)(3) to an organization called “Christians Engaged.” The specific reason given for the

      rejection was:

          [Y]ou educate believers on national issues that are central to their belief in the

          Bible as the inerrant Word of God. Specifically, you educate Christians on what

          the bible says in areas where they can be instrumental in the areas of sanctity of

          life, the definition of marriage, biblical justice, freedom of speech, defense, and

          borders and immigration, U.S. and Israel relations. The bible teachings are

          typically affiliated with the [Republican] party and candidates. This disqualifies

          you from exemption under IRS Section 501(c)(3).

      Although this denial was ultimately reversed, it is yet another example of the discriminatory

      practices of the IRS vis-à-vis conservative, particularly religiously conservative,

      organizations.

 102. Upon information and belief, the IRS has continued its policy of political favoritism in its

      enforcement of the Johnson Amendment. Plaintiffs are aware of instances of recent

      investigations and adverse actions against conservative religious organizations under the

      Johnson Amendment. To Plaintiffs’ knowledge, no investigation, and particularly no adverse

      action, has ever been taken against any left-leaning or Democrat-affiliated nonprofit. The

      proportion of adverse actions taken against 501(c)(3) nonprofits skews disproportionately

      against conservative organizations. The IRS is enforcing the Johnson Amendment in a

      politically biased manner.


                                                44
Case 6:24-cv-00311-JCB            Document 20      Filed 02/21/25      Page 45 of 73 PageID #: 269




                      INAPPLICABILITY OF THE ANTI-INJUNCTION ACT

 103. In general, the Anti-Injunction Act (26 U.S.C.A. § 7421) (hereinafter, AIA) imposes a barrier

       to seeking equitable relief, whether an injunction or declaratory judgment, if the case

       involves any form of federal taxation. This case fits within one or more of the recognized

       exceptions to this rule.

 104. The AIA does not apply “where the plaintiff has no alternative means to challenge the IRS's

       action.” Z St. v. Koskinen, 791 F.3d 24, 30 (D.C. Cir. 2015) citing South Carolina v. Regan,

       465 U.S. 367 (1984).

 105. Plaintiffs have not violated the Johnson Amendment but have chosen to censor their own

       speech to avoid its penalties. Unless and until Plaintiffs violate the Johnson Amendment and

       are subjected to adverse action by the IRS, they will be unable to challenge the

       constitutionality of the Johnson Amendment either facially or on an as-applied basis. Our

       legal system does not require Plaintiffs to put themselves at risk to determine their rights to

       freedom of speech, religion, due process, or equal protection.

 106. In addition, the Plaintiffs’ claims herein have “no implications for tax collection” and this

       matter is thus exempt from the AIA. Z St. v. Koskinen, 791 F.3d 24, 30 (D.C. Cir. 2015)

       citing Cohen v. United States, 650 F.3d 717, 724 (D.C.Cir.2011) (en banc). If Plaintiffs

       prevail, they will be free to engage in political speech. If Plaintiffs do not prevail, they will

       not be free to engage in political speech and will continue to live under the regime of the

       Johnson Amendment, suffering its chilling effect on their core political and religious

       expression. In either case, no tax liability will be affected by the outcome of this litigation.

 107. In addition, the AIA does not apply when “in administering the tax code, the IRS ….

       discriminate[s] on the basis of viewpoint.” Z St. v. Koskinen, 791 F.3d 24, 30 (D.C. Cir.


                                                   45
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 46 of 73 PageID #: 270




       2015). Moreover, “[t]he tax code may not “discriminate invidiously” True the Vote, Inc. v.

       Internal Revenue Serv., 831 F.3d 551, 560-61 (D.C. Cir. 2016) quoting Regan v. Taxation

       with Representation of Wash., 461 U.S. 540, 548.

 108. As previously alleged, the IRS has engaged in discriminatory treatment pertaining to

       freedom of speech and enforces the Johnson Amendment in a manner that constitutes a

       textbook example of invidious discrimination. Accordingly, the AIA is inapplicable to this

       case.

 109. The anti-tax provision of the Declaratory Judgment Act, 22 U.S.C. § 2201, is interpreted

       “coterminously” with the Anti-Injunction Act. For the reasons just alleged, this action is not

       barred by the Declaratory Judgment Act.

                                       CAUSES OF ACTION

                 COUNT I – FIRST AMENDMENT - FREEDOM OF SPEECH

 110. Plaintiff relies on the allegations of all prior paragraphs, as if they were restated herein.

 111. Political speech is “central to the meaning and purpose of the First Amendment.” Citizens

       United v. Fed. Election Comm'n, 558 U.S. 310, 329 (2010).

 112. Plaintiffs are juridical persons who are entitled to constitutional protections including

       freedom of speech. Plaintiffs have been denied freedom of speech about political candidates

       by that portion of § 501(c)(3) of the Internal Revenue Code known as the Johnson

       Amendment. This creates an unconstitutional restriction on the free speech rights of the

       Plaintiffs protected by the First Amendment to the Constitution of the United States.

       “Political speech must prevail against laws that would suppress it, whether by design or

       inadvertence. Laws that burden political speech are subject to strict scrutiny, which requires

       the Government to prove that the restriction furthers a compelling interest and is narrowly

       tailored to achieve that interest.” Citizens United v. Fed. Election Comm'n, 558 U.S. 310,
                                                   46
Case 6:24-cv-00311-JCB         Document 20         Filed 02/21/25      Page 47 of 73 PageID #: 271



       340 (2010) (Cleaned up.)

 113. It is no defense to say that the natural persons involved with the Plaintiffs have other avenues

       for speaking about candidates. These Plaintiffs, themselves, as legal persons, have the

       protected right of freedom of speech. Citizens United, supra.

 114. The Johnson Amendment, as written, creates both a subject matter restriction and a speaker

       restriction on political speech in violation of the First Amendment. Nonprofits organized

       under § 501(c)(3) may not discuss the subject of political candidates for public office in a

       manner that is deemed to support or oppose such candidates. Only nonprofits organized

       under § 501(c)(3) are so silenced. All other forms of nonprofit organizations and all for-

       profit organizations are permitted to speak in a manner that supports or opposes political

       candidates. This includes nonprofits that operate primarily from tax-deductible membership

       dues. “The First Amendment stands against attempts to disfavor certain subjects or

       viewpoints. See, e.g., United States v. Playboy Entertainment Group, Inc., 529 U.S. 803,

       813 (2000) (striking down content-based restriction). Prohibited, too, are restrictions

       distinguishing among different speakers, allowing speech by some but not others. See First

       Nat. Bank of Boston v. Bellotti, 435 U.S. 765, 784 (1978). As instruments to censor, these

       categories are interrelated: Speech restrictions based on the identity of the speaker are all too

       often simply a means to control content.” Citizens United v. Fed. Election Comm'n, 558 U.S.

       310, 340 (2010).

 115. The Johnson Amendment, as arbitrarily and capriciously enforced by the IRS, additionally

       violates the Plaintiffs’ freedom of speech in that some 501(c)(3) nonprofits, such as

       newspapers and Democrat-leaning churches, are not restricted in their open support or

       opposition for political candidates, while others, including Plaintiffs, are told that they must

       obey the strictures of said Amendment. While the Johnson Amendment may be viewpoint-
                                                  47
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 48 of 73 PageID #: 272




       neutral on its face, the IRS has applied and continues to apply it in a manner that

       discriminates against speakers based on viewpoint.

 116. The violation of Plaintiffs’ First Amendment rights, both facially and as-applied, constitutes a

       per se irreparable injury entitling them to an injunction prohibiting the Defendants from

       enforcing the Johnson Amendment. Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368, 380

       (5th Cir. 2022).

         COUNT II – FIFTH AMENDMENT - DUE PROCESS—VOID FOR VAGUENESS

 117. Plaintiff relies on the allegations of all prior paragraphs, as if they were restated herein.

 118. The Johnson Amendment, as enforced by the IRS, is void for vagueness in violation of the

       Due Process Clause of the Fifth Amendment. “Even when speech is not at issue, the void

       for vagueness doctrine addresses at least two connected but discrete due process concerns:

       first, that regulated parties should know what is required of them so they may act

       accordingly; second, precision and guidance are necessary so that those enforcing the law

       do not act in an arbitrary or discriminatory way. When speech is involved, rigorous

       adherence to those requirements is necessary to ensure that ambiguity does not chill

       protected speech.” F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253–54 (2012).

 119. The IRS repeatedly states that the Johnson Amendment is not capable of hard and fast rules

       but that its application depends on the “facts and circumstances” of each situation. “Certain

       activities or expenditures may not be prohibited depending on the facts and circumstances.”

       https://www.irs.gov/charities-non-profits/charitable-organizations/the-restriction-of-

       political-campaign-intervention-by-section-501c3-tax-exempt-organizations. This is the

       central operating rule of the IRS on the meaning of the Johnson Amendment.

 120. While the IRS uses the “facts and circumstances” test in many other areas of tax law, this

       ambiguity is unconstitutional when it is used in the context of restrictions on the freedom of
                                                  48
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25       Page 49 of 73 PageID #: 273




       speech because it allows the government to freely discriminate against speech based on

       viewpoint. By definition, a law that cannot be stated with precision in the area of speech

       restriction is void for vagueness.

 121. Moreover, the Johnson Amendment is unconstitutionally void for vagueness in actual

       operation because some 501(c)(3) nonprofits (such as newspapers and Democrat-leaning

       churches) are permitted to routinely violate its provisions while the IRS warns others,

       including Plaintiffs, that they must obey its provisions.

 122. These violations of Plaintiffs’ Fifth Amendment rights constitute an irreparable injury for

       which there is no adequate remedy of law. They are entitled to injunctive relief prohibiting

       the Defendants from enforcing the Johnson Amendment.

          COUNT III – FIRST AMENDMENT - FREE EXERCISE OF RELIGION

 123. Plaintiff relies on the allegations of all prior paragraphs, as if they were restated herein.

 124. Plaintiffs have a bona fide religious conviction that they must teach and preach about all

       areas of life. No area of life is exempt from the reach of Scripture. And teaching is not limited

       to generalized principles. Proper teaching includes a precise application of scriptural

       principles to every area of life.

 125. This includes the spiritual duty to teach about issues of life that may arise in the public arena.

       Issues such as religious freedom, the right to life, racism, and the duties of parents to their

       children have obvious moral and spiritual implications, and each of these topics is also a

       current political topic that is treated in different manners by different political candidates.

 126. Plaintiffs cannot fulfill their spiritual duties to teach the full counsel of the Word of God if

       they fail to address such issues and to inform their listeners how the views of various political

       candidates compare to the Bible’s position on such matters. However, if they do both things,

       that is, teach what the Bible says and inform the public what a candidate believes on such an
                                                   49
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 50 of 73 PageID #: 274




       issue, the IRS insists that such teaching violates the Johnson Amendment. Any such violation

       comes with the prospect of substantial penalties, including the loss of tax-exempt status for

       the organization.

 127. Thus, the Johnson Amendment imposes a substantial burden on Plaintiffs’ free exercise of

       religion.

 128. As it pertains to churches, there is an additional violation of the Plaintiffs’ right to the free

       exercise of religion.

 129. Churches are placed in a unique and discriminatory status by the IRC Code. Under §

       508(c)(1) of the Internal Revenue Code, churches need not apply to the IRS to obtain

       recognition of their 501(c)(3) status. The Code places them automatically within the ambit

       of 501(c)(3) and thereby silences their speech while providing no realistic alternative for

       operating in any other fashion. Churches have no choice; they are automatically silenced vis-

       à-vis political candidates.

 130. The silencing of churches on political candidates is a substantial burden on their free exercise

       of religion.

 131. The Plaintiffs’ right to the free exercise of religion is protected by the First Amendment of

       the Constitution of the United States. At a minimum, a regime of discriminatory enforcement

       that is motivated by religious animus violates the Free Exercise Clause.

 132. The IRS enforces the Johnson Amendment, as alleged above, in a discriminatory manner,

       giving preference to speakers and viewpoints it prefers by refraining from enforcing the

       Johnson Amendment against them; while subjecting religious positions it disfavors to the

       realistic possibility of enforcement.

 133. Under the controlling rule of Employment Division v. Smith, 494 U.S. 872 (1990), the

       Johnson Amendment, as written, is not a neutral rule of general applicability. It is not a
                                             50
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 51 of 73 PageID #: 275




       general rule because every form of juridical person other than 501(c)(3) nonprofits is able to

       support or oppose political candidates. This includes organizations that, like 501(c)(3)

       nonprofits, pay no organizational taxes themselves. It also includes organizations that have

       as a principal source of income membership revenue which is tax deductible as a business

       expense. Such organizations can either raise additional “clean” (i.e. non-deductible)

       donations for a campaign communication or inform their members to only deduct the

       proportion of their dues not attributable to such communications. None of these options are

       available to 501(c)(3) organizations. These are less restrictive alternatives that would bear

       on the constitutionality of the Johnson Amendment if such were available.

 134. Additionally, the Johnson Amendment is not a neutral rule of general applicability as

       implemented and enforced by the IRS. The vast disparities previously identified demonstrate

       that some 501(c)(3) nonprofits are allowed to engage in campaign activity with impunity,

       while others, like Plaintiffs, are warned to not do so.

 135. Moreover, churches have no choice. They are automatically silenced in a unique fashion, by

       virtue of a prior restraint. They are given no alternative form of organization since they are

       automatically exempt without application. This rule is neither general nor neutral. It is a

       narrow rule aimed specifically at churches and is thus unconstitutional in violation of the

       Free Exercise Clause.

 136. These violations of the Plaintiffs’ free exercise rights constitute an irreparable injury per se

       entitling them injunctive relief prohibiting the Defendants from enforcing the Johnson

       Amendment. Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368, 380 (5th Cir. 2022).

                 COUNT IV – RELIGIOUS FREEDOM RESTORATION ACT

 137. Plaintiff relies on the allegations of all prior paragraphs, as if they were restated herein.

 138. Plaintiffs have a bona fide religious conviction that they must teach and preach about all
                                               51
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25       Page 52 of 73 PageID #: 276




       areas of life. No area of life is exempt from the reach of Scripture. And teaching is not limited

       to generalized principles. Proper teaching includes a precise application of scriptural

       principles to every area of life.

 139. This includes the spiritual duty to teach about issues of life that may arise in the public arena.

       Issues such as religious freedom, the right to life, racism, and the duties of parents to their

       children have obvious moral and spiritual implications, and each of these topics is also a

       current political topic that is treated in different manners by different political candidates.

 140. Plaintiffs cannot fulfill their spiritual duties to teach the full counsel of the Word of God if

       they fail to address such issues and to inform their listeners how the views of various political

       candidates compare to the Bible’s position on such matters. However, if they do both things,

       that is, teach what the Bible says and inform the public what a candidate believes on such an

       issue, the IRS insists that such teaching violates the Johnson Amendment. Any such violation

       comes with the prospect of substantial penalties, including the loss of tax-exempt status for

       the organization.

 141. Thus, the Johnson Amendment imposes a substantial burden on Plaintiffs’ free exercise of

       religion.

 142. As it pertains to churches, there is an additional violation of the Plaintiffs’ right to the free

       exercise of religion.

 143. Churches are placed in a unique and discriminatory status by the IRC Code. Under §

       508(c)(1) of the Internal Revenue Code, churches need not apply to the IRS to obtain

       recognition of their 501(c)(3) status. The Code places them automatically within the ambit

       of 501(c)(3) and thereby silences their speech while providing no realistic alternative for

       operating in any other fashion. Churches have no choice; they are automatically silenced vis-

       à-vis political candidates.
                                                   52
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 53 of 73 PageID #: 277




 144. The silencing of churches on political candidates is a substantial burden on their free exercise

       of religion.

 145. The Religious Freedom Restoration Act 42 U.S § 2000bb-1 provides:

        Government shall not substantially burden a person’s exercise of religion even if the burden

        results from a rule of general applicability, except as provided in subsection (b).

        (b)Exception

        Government may substantially burden a person’s exercise of religion only if it

        demonstrates that application of the burden to the person—

                (1) is in furtherance of a compelling governmental interest; and

                (2) is the least restrictive means of furthering that compelling governmental

                interest.

 146. The Johnson Amendment, as written, constitutes a substantial burden on the Plaintiffs’

       exercise of their religion in violation of RFRA. There is no compelling interest that justifies

       the restriction of the Plaintiffs’ speech. Nor is the government’s policy executed in the least

       restrictive means available.

 147. The IRS enforces the Johnson Amendment, as alleged above, in a discriminatory manner,

       giving preference to speakers and viewpoints it prefers by refraining from enforcing the

       Johnson Amendment against them, while subjecting religious positions it disfavors to the

       realistic possibility of enforcement.

 148. Moreover, churches have no choice. They are automatically silenced in a unique fashion, by

       virtue of a prior restraint. They are given no alternative form of organization since they are

       automatically exempt without application. This rule is neither general nor neutral. It is a

       narrow rule aimed specifically at churches and is thus unconstitutional in violation of the

       Free Exercise Clause.
                                                  53
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 54 of 73 PageID #: 278




 149. These violations of the Plaintiffs’ rights protected by RFRA constitutes an irreparable

       injury per se entitling them injunctive relief prohibiting the Defendants from enforcing the

       Johnson Amendment. Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368, 380 (5th Cir.

       2022).

                 COUNT V – FIFTH AMENDMENT - EQUAL PROTECTION

 150. Plaintiff relies on the allegations of all prior paragraphs, as if they were restated herein.

 151. Plaintiffs have been treated unequally by the Johnson Amendment, as written and as

       enforced by the IRS, in at least three ways: (1) 501(c)(3) nonprofits have no legal alternative

       to engage in political speech while all other forms of nonprofit organizations have a legal

       path to do so; (2) some 501(c)(3) nonprofits are regularly warned to obey the rules of the

       Johnson Amendment prohibiting political speech, while other 501(c)(3) nonprofits (in

       particular newspapers and Democrat-leaning churches) are permitted to engage in such

       political speech with impunity; (3) the IRC automatically silences churches by placing them

       into the 501(c)(3) category without application, thereby precluding them from engaging in

       political speech. No other entity is silenced without any action on its part.

 152. Denial of equal protection rights by any agency of the government of the United States

       violates the Due Process Clause of the Fifth Amendment to the Constitution. Bolling v.

       Sharpe, 347 U.S. 497, 499 (1954).

 153. The Johnson Amendment, as written and as enforced by the IRS, denies Plaintiffs equal

       protection because “two or more classifications of similarly situated persons were treated

       differently” under the statute. Gallegos–Hernandez v. United States, 688 F.3d 190, 195 (5th

       Cir. 2012); see also Stefanoff v. Hays Cty., 154 F.3d 523, 525–26 (5th Cir. 1998).” Duarte

       v. City of Lewisville, Texas, 858 F.3d 348, 353–54 (5th Cir. 2017).

 154. This denial of equal protection is subject to “strict scrutiny” because the “legislative
                                             54
Case 6:24-cv-00311-JCB         Document 20        Filed 02/21/25      Page 55 of 73 PageID #: 279




       classification … impinges upon a fundamental right explicitly or implicitly protected by the

       Constitution.” Richard v. Hinson, 70 F.3d 415, 417 (5th Cir. 1995) (citing San Antonio

       Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 17 (1973)).” Duarte v. City of Lewisville, Texas,

       858 F.3d 348, 353–54 (5th Cir. 2017). The Johnson Amendment infringes on both the

       freedom of speech and the free exercise of religion, both of which are recognized as

       fundamental rights. De Jonge v. State of Oregon, 299 U.S. 353, 364 (1937) (freedom of

       speech); Wisconsin v. Yoder, 406 U.S. 205, 214 (1972) (free exercise of religion).

 155. There is no compelling government interest that justifies any of these denials of equal

       protection.

 156. The government has not pursued its policy in the least restrictive means possible. At a

       minimum, 501(c)(3) nonprofits could be given the same opportunity as 501(c)(6) nonprofits

       that operate principally on tax-deductible membership dues; to wit, 501(c)(3) organizations

       could be given the opportunity to raise non-deductible funds to engage in political speech,

       or they could inform their donors that a pro-rata share of their donation is not deductible.

 157. These violations of the Plaintiffs’ equal protection rights constitute an irreparable injury for

       which there is no adequate remedy at law entitling them injunctive relief prohibiting the

       Defendants from enforcing the Johnson Amendment.

                                      REQUESTS FOR RELIEF

 158. Plaintiffs are entitled to a declaratory judgment that the Johnson Amendment, on its face,

       unconstitutionally prohibits 501(c)(3) organizations, including Plaintiffs, from engaging in

       protected political speech.

 159. Plaintiffs are entitled to a declaratory judgment that the Johnson Amendment, as enforced

       by the IRS, unconstitutionally prohibits Plaintiffs from engaging in protected political

       speech in violation of the First Amendment.
                                               55
Case 6:24-cv-00311-JCB          Document 20        Filed 02/21/25      Page 56 of 73 PageID #: 280




 160. Plaintiffs are entitled to a declaratory judgment that the Johnson Amendment, as enforced

       by the IRS, is void for vagueness in violation of the Fifth Amendment.

 161. Plaintiffs are entitled to a declaratory judgment that the Johnson Amendment, on its face and

       as applied by the IRS, violates the Religious Freedom Restoration Act.

 162. Plaintiffs are entitled to a declaratory judgment that the Johnson Amendment, on its face and

       as applied by the IRS, violates the Plaintiffs’ rights to the free exercise of religion as

       protected by the First Amendment.

 163. Plaintiffs Sand Springs Church and First Baptist Church Wascom are entitled to a

       declaratory judgment that the Johnson Amendment is unconstitutional vis-à-vis churches

       because it prohibits aspects of the free expression of churches without exception, thus

       violating the rights of churches to freedom of speech and the free exercise of religion, both

       protected by the First Amendment, and, furthermore, violates the Religious Freedom

       Restoration Act for the same reasons. Further, this provision violates the equal protection

       principle contained within the Fifth Amendment.

 164. Plaintiffs are entitled to a declaratory judgment that the Johnson Amendment, on its face and

       as applied by the IRS, treats Plaintiffs in an unconstitutionally unequal manner as alleged

       above in violation of the Fifth Amendment.

 165. Plaintiffs are entitled to injunctive relief to prohibit the continued application of the Johnson

       Amendment insofar as it operates to prohibit political speech.

                                      PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs respectfully pray that this Court grant Plaintiffs a judgment as follows:

 1.    A declaratory judgment that the Johnson Amendment is unconstitutional as alleged above.

 2.    Injunctive relief against the Defendants prohibiting them from enforcing the Johnson

       Amendment.
                                                   56
Case 6:24-cv-00311-JCB        Document 20       Filed 02/21/25       Page 57 of 73 PageID #: 281




 3.    Reasonable attorney’s fees under 28 U.S.C. § 2412.

 4.    Such other and further relief as the Court may deem just and appropriate.


  Dated: February 19, 2025

                                                     Respectfully submitted,

                                                     /s/Michael P. Farris
                                                     Michael Farris
                                                     DC Bar No. 385969
                                                     National Religious Broadcasters
                                                     20 F Street
                                                     Seventh Floor
                                                     Washington, DC 20001
                                                     571-359-6000
                                                     mfarris@nrb.org

                                                     David A. Kallman
                                                     MI Bar No. P34200
                                                     Kallman Legal Group, PLLC
                                                     Attorney at Law
                                                     5600 W. Mount Hope Hwy.
                                                     Lansing, MI 48917
                                                     517-322-3207
                                                     dave@kallmanlegal.com

                                                     Stephen Kallman
                                                     MI Bar No. P75622
                                                     Kallman Legal Group, PLLC
                                                     Attorney at Law
                                                     5600 W. Mount Hope Hwy.
                                                     Lansing, MI 48917
                                                     517-322-3207
                                                     steve@kallmanlegal.com

                                                     Andrew W. Stinson
                                                     State Bar No. 24028013
                                                     RAMEY & FLOCK, PC
                                                     100 E. Ferguson Street, Suite 500
                                                     Tyler, TX 75702
                                                     903-597-3301
                                                     andys@rameyflock.com




                                                57
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25     Page 58 of 73 PageID #: 282




                                         Rita M. Peters
                                         State Bar No. 46821
                                         7586 Stoney Lick Road
                                         Mount Crawford, VA 22841
                                         540-830-1229
                                         rpeters@selfgovern.com

                                         Attorneys for Plaintiff




                                       58
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25   Page 59 of 73 PageID #: 283



                                       EXHIBIT A




                                       59
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25   Page 60 of 73 PageID #: 284




                 PRINT FULL VERSION           VIEW 2 PAGE SUMMARY




                                  2020


           Voter Prayer
              Guide
        In this important election year, the most fundamental
        questions about who we are and what is moral are
             underpinning all the debates and rhetoric.

        This voter prayer guide is designed to enable you to
        compare and pray through the party platforms with
         each other and with the Word of God, so that you
                     can VOTE YOUR VALUES.
  Case 6:24-cv-00311-JCB                 Document 20             Filed 02/21/25             Page 61 of 73 PageID #: 285


                                                             Life
              Democratic Party                                                               Republican Party
“We will appoint U.S. Supreme Court justices and                               “The Constitution’s guarantee that no one
federal judges who . . . will respect and enforce                               can ‘be deprived of life, liberty or property’
 foundational precedents, including . . . Roe v.                                 deliberately echoes the Declaration of
Wade ...... Democrats believe every woman should                               Independence’s proclamation that ‘all’ are
 be able to access high quality reproductive health                        ‘endowed by their Creator’ with the inalienable
care services, including safe and legal abortion.                          right to life. Accordingly, we assert the sanctity
  We oppose and will fight to overturn federal                               of human life and affirm that the unborn child
 and state laws that create barriers to women’s                            has a fundamental right to life which cannot be
reproductive health and rights.” (2020 Democratic                          infringed. We support a human life amendment
              Party Platform, 39, 42)                                      to the Constitution and legislation to make clear
                                                                            that the Fourteenth Amendment’s protections
                                                                            apply to children before birth.” (Republican Party
                                                                                        Platform 2016/2020, 13)



           For you formed my inward parts; you knitted me together in my mother’s womb. I praise you, for I am fearfully
            and wonderfully made. Wonderful are your works; my soul knows it very well. My frame was not hidden from
                 you when I was being made in secret, intricately woven in the depths of the earth. (Ps 139:13-15)
              Father God, we pray that Your Holy Spirit, who convicts of sin and righteousness, would go throughout this
             land and convict every single person of Your great love for them and of Your destiny and value for every
                      person. Let Your truth about the value of every life overwhelm us and our nation’s leaders.




                                      Religious Freedom
              Democratic Party                                                          Republican Party
     “Democrats celebrate America’s history                         “We value the right of America’s religious leaders to
     of religious pluralism and tolerance, and                       preach, and Americans to speak freely, according
     recognize the countless acts of service                            to their faith. Republicans believe the federal
     of our faith communities, as well as the                          government, specifically the IRS, is constitutionally
     paramount importance of maintaining                            prohibited from policing or censoring speech based
    the separation between church and state                         on religious convictions or beliefs ........ We pledge to
      enshrined in our Constitution.” (2020                          defend the religious beliefs and rights of conscience
         Democratic Party Platform, 48)                                  of all Americans and to safeguard religious
                                                                      institutions against government control . [W]e
                                                                      strongly support the freedom of Americans to act
                                                                   in accordance with their religious beliefs, not only in
                                                                   their houses of worship, but also in their everyday
                                                                   lives.” (Republican Party Platform 2016/2020, 11-12)



                                    So if the Son sets you free, you will be free indeed. (Jn 8:36)
             Lord God, we thank You for the freedoms guaranteed by the U.S. Constitution and Bill of Rights, all of which
             we can recognize because of what You have done for us and our nation. We pray that You would preserve in
                         our nation our ability to exercise freely the rights that You have endowed to us.



                          Learn more at VoteYourValues2020.com, a ministry of Intercessors for America.
   Case 6:24-cv-00311-JCB                   Document 20             Filed 02/21/25            Page 62 of 73 PageID #: 286


                                                Environment
                  Democratic Party                                                            Republican Party
    “Climate change is a global emergency. We                             “Conservation is inherent in conservatism. As the
   have no time to waste in taking action to protect                      pioneer of environmentalism a century ago, the
   Americans’ lives and futures.”(2020 Democratic                         Republican Party reaffirms the moral obligation
                 Party Platform, 49)                                       to be good stewards of the God-given natural
                                                                          beauty and resources of our country. We assert
                                                                         that private ownership has been the best guarantee
                                                                          of conscientious stewardship, while some of the
                                                                         worst instances of degradation have occurred under
                                                                          government control.” (Republican Party Platform
                                                                                           2016/2020, 21)




            Then God said, “Let us make man in our image, after our likeness. And let them have dominion over the fish of the
           sea and over the birds of the heavens and over the livestock and over all the earth and over every creeping thing that
                                                    creeps on the earth.” (Gen 1:26)
                      The Lord God took the man and put him in the garden of Eden to work it and keep it. (Gen 2:15)
             Lord, please help us to be wise stewards of Your creation that You put in our charge. May we be motivated by truth
                                                    and love — not captivated by fear.




                                   Marriage and Sexuality
                 Democratic Party                                                              Republican Party
     “Democrats applaud this year’s U.S. Supreme                            “Foremost among those institutions is the American
    Court decision that made clear that employment                         family. It is the foundation of civil society, and the
discrimination based on sexual orientation and gender                      cornerstone of the family is natural marriage, the
 identity violates the law . . . We will fight to enact the                union of one man and one woman... [We oppose
Equality Act . . . We will work to ensure LGBTQ+ people                      the imposition of] a social and cultural revolution
are not discriminated against when seeking to adopt or                       upon the American people by wrongly redefining
foster children, protect LGBTQ+ children from bullying                       sex discrimination . . . reshap[ing] our entire
   and assault, and guarantee transgender students’                           society — to fit the mold of an ideology alien to
   access to facilities based on their gender identity.”                    America’s history and traditions.” (Republican Party
         (2020 Democratic Party Platform, 42)                                          Platform 2016/2020, 31, 35)



             So God created man in his own image, in the image of God he created him; male and female he created them.
                                                            (Gen 1:27)
             Pray for us, for we are sure that we have a clear conscience, desiring to act honorably in all things. (Heb 13:18)
              Let marriage be held in honor among all, and let the marriage bed be undefiled, for God will judge the sexually
                                                immoral and adulterous. (Heb 13:4)
               Creator God, thank You that our value and personhood is based on being created by You, in Your image, and
               that we are created fearfully and wonderfully. Let our laws and our leaders reflect this truth and reflect Your
                                                  commands about what marriage is.
  Case 6:24-cv-00311-JCB                Document 20              Filed 02/21/25            Page 63 of 73 PageID #: 287


                                                Health Care
              Democratic Party                                                           Republican Party
 “Democrats have fought to achieve universal                        “Any honest agenda for improving healthcare must
health care for a century. We are proud to be the                  start with repeal of the dishonestly named Affordable
party of Medicare, Medicaid, and the Affordable                     Care Act....... It has driven up prices for all consumers.
Care Act ..... [W]e fundamentally believe health                    Their insurance premiums have dramatically increased
 care is a right for all .... ” (2020 Democratic Party             while their deductibles have risen about eight times
                   Platform, 26-27)                                 faster than wages in the last ten years .... It must
                                                                   be removed and replaced with an approach based on
                                                                    genuine competition, patient choice, excellent care,
                                                                    wellness, and timely access to treatment.” (Republican
                                                                               Party Platform 2016/2020, 36)



                                            Bear one another’s burdens, and so fulfill the law of Christ. (Gal 6:2)
                        Is anyone among you suffering? Let him pray. Is anyone cheerful? Let him sing praise. Is anyone among you
                        sick? Let him call for the elders of the church, and let them pray over him, anointing him with oil in the name
                        of the Lord. And the prayer of faith will save the one who is sick, and the Lord will raise him up. And if he has
                                                        committed sins, he will be forgiven. (Jas 5:13)
                       Lord Jesus, You are the master healer and the One who cleared out the money-changers in the temple. Please
                        look down on us and divinely inspire those who can bring ethics and excellent healthcare to our country. May
                                those who suffer with health problems and financial worries be drawn to You for solace.




                                                  Economy
               Democratic Party                                                            Republican Party
 “Democrats will forge a new social and economic                         “Government cannot create prosperity, though
  contract with the American people—a contract                        government can limit or destroy it. Prosperity is the
  that creates millions of new jobs and promotes                       product of self-discipline, enterprise, saving and
shared prosperity, closes racial gaps in income and                   investment by individuals, but it is not an end in itself.
 wealth, guarantees the right to join or form a union,                  Prosperity provides the means by which citizens
raises wages and ensures equal pay for women and                        and their families can maintain their independence
 paid family leave for all, and safeguards a secure                     from government, raise their children by their own
  and dignified retirement.” (2020 Democratic Party                    values, practice their faith, and build communities
                       Platform, 6)                                     of cooperation and mutual respect. It is also the
                                                                       foundation for our nation’s global leadership, for it
                                                                       is the vigor of our economy which makes possible
                                                                        our military strength and our national security.”
                                                                           (Republican Party Platform 2016/2020, 1)


                                                     For the love of money is a root of all kinds of evils. (1 Tm 6:10)
                                           But if anyone does not provide for his relatives, and especially for members of his
                                           household, he has denied the faith and is worse than an unbeliever. (1 Tm 5:8)
                                      Father God, we pray for an economic system that encourages and rewards the biblical
                                        values of hard work and personal generosity. We pray for governmental plans and
                                      policies that would discourage debt and greed and encourage wisdom in how we use our
                                                               money, as individuals and as a nation.


                         Learn more at VoteYourValues2020.com, a ministry of Intercessors for America.
   Case 6:24-cv-00311-JCB                   Document 20              Filed 02/21/25             Page 64 of 73 PageID #: 288


                                                           Racism
                 Democratic Party                                                               Republican Party
  “Democrats will root out structural and systemic                         “We denounce bigotry, racism, anti-Semitism, ethnic
racism in our economy and our society, and reform our                      prejudice, and religious intolerance. Therefore, we
criminal justice system from top to bottom, because                        oppose discrimination based on race, sex, religion,
we believe Black lives matter . We will give hate no                         creed, disability, or national origin and support
 safe harbor. We will never amplify or legitimize the                       statutes to end such discrimination. As the Party
 voices of bigotry, racism, misogyny, anti-Semitism,                         of Abraham Lincoln, we must continue to foster
 Islamophobia, or white supremacy. Democrats will                            solutions to America’s difficult challenges when
protect and promote the equal rights of all our citizens                     it comes to race relations today. We continue to
 . .... We commit ourselves to the vision articulated by                     encourage equality for all citizens and access to
Frederick Douglass of “a Government founded upon                           the American Dream. Merit and hard work should
 justice, and recognizing the equal rights of all.” (2020                   determine advancement in our society, so we reject
             Democratic Party Platform, 6)                                   unfair preferences, quotas, and set-asides . ”
                                                                                 (Republican Party Platform 2016/2020, 9)


               The God who made the world and everything in it, being Lord of heaven and earth, does not live in temples
             made by man, nor is he served by human hands, as though he needed anything, since he himself gives to
              all mankind life and breath and everything. And he made from one man every nation of mankind to live on
               all the face of the earth, having determined allotted periods and the boundaries of their dwelling place, that
             they should seek God, and perhaps feel their way toward him and find him. Yet he is actually not far from
                                                    each one of us . . . (Acts 17:24-27)
              Father, forgive us for all the sins of injustice in our nation. Please heal our prejudices and help us to truly see
                                                         one another as you see us.




                                                 Immigration
                  Democratic Party                                                            Republican Party
   “Democrats support policies and programs to                            “Our party is the natural home for those who come
    make it easier for qualified immigrants and their                     in search of freedom and justice. We welcome all
  families to become full and equal citizens, including                   to the Great Opportunity Party. The greatest asset
    increasing funding for culturally appropriate                         of the American economy is the American worker.
 immigrant inclusion and citizenship services, legal                       Our immigration system must protect American
  support, English classes and bilingual education,                         working families and their wages, for citizens
   workforce development, and adult education.”                             and legal immigrants alike, in a way that will
       (2020 Democratic Party Platform, 64)                                improve the economy.” (Republican Party Platform
                                                                                            2016/2020, 25)



                Thus says the Lord of hosts, “Render true judgments, show kindness and mercy to one another, do not
              oppress the widow, the fatherless, the sojourner, or the poor, and let none of you devise evil against another
                                                      in your heart.” (Zec 7:9-10)
           Let every person be subject to the governing authorities. For there is no authority except from God, and those that
            exist have been instituted by God. Therefore whoever resists the authorities resists what God has appointed, and
            those who resist will incur judgment. For rulers are not a terror to good conduct, but to bad (Rom 13:1-3)
             Lord, we pray for peace in our land, and wisdom for those in leadership. We ask that righteousness and justice
             would prevail, for righteousness exalts a nation. Please give us insight on how we are to show kindness to
                                       foreigners even as we honor the citizens who live here.
  Case 6:24-cv-00311-JCB                   Document 20             Filed 02/21/25            Page 65 of 73 PageID #: 289


                                                     Education
              Democratic Party                                                      Republican Party
       “As Democrats, we believe that                      “Parents are a child’s first and foremost educators, and have
      education is a critical public good—                    primary responsibility for the education of their children.
      not a commodity—and that it is the                   Parents have a right to direct their children’s education, care,
   government’s responsibility to ensure that              and upbringing. We support a constitutional amendment
   every child, everywhere, is able to receive              to protect that right from interference by states, the
    a world-class education that enables                      federal government, or international bodies
  them to lead meaningful lives, no matter                    such as the United Nations. We reject a
    their race, ZIP code, disability status,                 one-size-fits-all approach to education
    sexual orientation, gender identity, . . .               and support a broad range of choices
    or household income.” (2020 Democratic                   for parents and children at the state and
              Party Platform, 64)                            local level.” (Republican Party Platform
                                                                            2016/2020, 33)


   And these words that I command you today shall be on your heart. You shall teach them diligently to your children, and shall talk
      of them when you sit in your house, and when you walk by the way, and when you lie down, and when you rise. (Dt 6:6-7)
                   Train up a child in the way he should go; even when he is old he will not depart from it. (Prv 22:6)
     My people are destroyed for lack of knowledge; because you have rejected knowledge, I reject you from being a priest to me.
                     And since you have forgotten the law of your God, I also will forget your children. (Hos 4:6)
     Lord, we pray for the education system in the U.S., for all the educators who pour countless hours into our students, and for our
     national, state, and local governments to rely on facts when deciding what is best for students, not politics or propaganda.




                                                          Israel
              Democratic Party                                                          Republican Party
  “Democrats recognize the worth of every                        “Beyond our mutual strategic interests, Israel is likewise an
Israeli and every Palestinian. That’s why we                    exceptional country that shares our most essential values.
  will work to help bring to an end a conflict                    It is the only country in the Middle East where freedom
 that has brought so much pain to so many.                      of speech and freedom of religion are found. Therefore,
We support a negotiated two-state solution                      support for Israel is an expression of Americanism, and it
that ensures Israel’s future as a Jewish and                    is the responsibility of our government to advance policies
  democratic state with recognized borders                      that reflect Americans’ strong desire for a relationship with
and upholds the right of Palestinians to live in               no daylight between America and Israel ...... We oppose any
freedom and security in a viable state of their                  measures intended to impose an agreement or to dictate
own. Democrats oppose any unilateral steps                        borders or other terms, and we call for the immediate
 by either side—including annexation—that                         termination of all U.S. funding of any entity that attempts
 undermine prospects for two states.”(2020                       to do so. Our party is proud to stand with Israel now and
       Democratic Party Platform, 91)                              always.” (Republican Party Platform 2016/2020, 47)



           Pray for the peace of Jerusalem! “May they be secure who love you! Peace be within your walls and security within
           your towers!” For my brothers and companions’ sake I will say, “Peace be within you!” For the sake of the house of
                                         the Lord our God, I will seek your good. (Ps 122:6-9)
           Lord, You have not forgotten or rejected Your ancient people, Israel. You are a faithful God who keeps covenant and
           loves unconditionally. Thank You that You are again showing Your compassion to the Jewish people. Help us to love
                           those whom You love – those who are “engraved on the palms of (Your) hands.”



                             Learn more at VoteYourValues2020.com, a ministry of Intercessors for America.
  Case 6:24-cv-00311-JCB                    Document 20             Filed 02/21/25            Page 66 of 73 PageID #: 290


                                              Gun Ownership
                Democratic Party                                                           Republican Party
  “Democrats will enact universal background                          “We uphold the right of individuals to keep and bear
checks, end online sales of guns and ammunition,                        arms, a natural inalienable right that predates the
 close dangerous loopholes that currently allow                      Constitution and is secured by the Second Amendment.
stalkers and some individuals convicted of assault                   Lawful gun ownership enables Americans to exercise
    or battery to buy and possess firearms, and                      their God-given right of self-defense for the safety of
 adequately fund the federal background check                         their homes, their loved ones, and their communities. . .
system. . . Democrats will ban the manufacture                          We support firearm reciprocity legislation to recognize
 and sale of assault weapons and high capacity                         the right of law-abiding Americans to carry firearms
   magazines. . . And Democrats believe that                         to protect themselves and their families in all 50 states.
  gun companies should be held responsible for                       We support constitutional carry statutes and salute the
  their products, just like any other business, and                  states that have passed them .... We also oppose any
   will prioritize repealing the law that shields                       effort to deprive individuals of their right to keep and
   gun manufacturers from civil liability.” (2020                      bear arms without due process of law.” (Republican
        Democratic Party Platform, 47-48)                                        Party Platform 2016/2020, 12-13)


                         Wisdom is better than weapons of war, but one sinner destroys much good. (Eccl 9:18)
           And he said to them, “When I sent you out with no moneybag or knapsack or sandals, did you lack anything?”
           They said, “Nothing.” He said to them, “But now let the one who has a moneybag take it, and likewise a knapsack.
           And let the one who has no sword sell his cloak and buy one. For I tell you that this Scripture must be fulfilled in
           me: ‘And he was numbered with the transgressors.’ For what is written about me has its fulfillment.” And they
                       said, “Look, Lord, here are two swords.” And he said to them, “It is enough.” (Lk 22:35-39)
             Lord, help us to be good stewards of our freedoms and smart with our laws. Guide our lawmakers to protect our
                                  freedoms, maintaining a society free from the tyranny of evil men.




                                           National Security
                    Democratic Party                                                            Republican Party
  “Democrats believe that we can only be strong in the                          “We are the party of peace through strength. .
   world when we are strong and united at home. We                             . . Tyranny and injustice thrive when America is
    believe that a healthy democracy, just society, and                        weakened. The oppressed have no greater ally
inclusive economy are essential prerequisites for effective                    than a confident and determined United States,
    American leadership abroad. And we believe that                            backed by the strongest military on the planet.
   the ultimate measure—and purpose—of our foreign                                 . . . We affirm our party’s tradition of world
   policy is whether it protects and advances America’s                         leadership established by President Eisenhower
   security, prosperity and values—and delivers results                          and followed by every Republican president
   for all Americans We will ensure that our military                          since. It stands for enormous power — and the
  has no peer ..... And, most importantly, Democrats will                      prudence to use it sparingly, precisely, and only
   ensure that the reinvention of American leadership                           in grave necessity. It stands for involvement,
  abroad prioritizes and accelerates our renewal at home.                        not intervention. It requires consultation, not
   We will root a disciplined foreign policy in the needs                         permission to act. It leads from the front —
  and aspirations of the American middle class and the                         and ensures all others do their parts as well. It
 imperative of building a more dynamic, fair, and resilient                      embraces American exceptionalism and rejects
  society—the ultimate wellspring of our power.” (2020                         the false prophets of decline and diminution.”
            Democratic Party Platform, 72-73)                                    (Republican Party Platform 2016/2020, 41, 46)

    One man of you puts to flight a thousand, since it is the Lord your God who fights for you, just as he promised you. (Joshua 23:10)
                   Blessed be the Lord, my rock, who trains my hands for war, and my fingers for battle . . . (Ps 144:1)
      Lord, we pray for a hedge of protection for the U.S. Help expose all evil schemes against our nation and guide our leaders in all
                                             aspects of foreign policy and national security.
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25   Page 67 of 73 PageID #: 291



                                  EXHIBIT B
            RECORD & POLICY
                       Case 6:24-cv-00311-JCB                                                       Document 20                                           Filed 02/21/25                                       Page 68 of 73 PageID #: 292




         COMPARISON PRAYER GUIDE



                       HARRIS/WALZ                                                                                                                                                                                   TRUMP/VANCE
          and the Biden/Harris Administration                                                                                                                                                               and the Trump Administration


                                                                                              RELIGIOUS FREEDOM                                                                                                                                                                (JN 8:36)

          Opposed religious exemptions from the                                                                                                                                  Advocated for the repeal of the
          vaccine mandate. Sought to weaken                                                                                                                                      Johnson Amendment, and did not
          RFRA, the Religious Freedom Restoration                                                                                                                                enforce during his term. Established
          Act; Opposed churches opening during                                                                                                                                   religious freedom watchdogs in all
          Covid. Supports radical pro-LGBTQ                                                                                                                                      administration departments. Opposed
          Equality Act.                                                                                                                                                          the pro-LGBTQ Equality Act.

                                                                    IMMIGRATION AND BORDER                                                                                                                                                                                    (ROM 13:1-3)

          Was Border Czar during largest border                                                                                                                                  Constructed 458 miles of border wall.
          invasion in history. Walz advocates for                                                                                                                                Enacted the successful Remain in
          open borders and amnesty, including                                                                                                                                    Mexico policy. Limited illegal entries
          free healthcare and college for illegals.                                                                                                                              to all-time low.         (ROM 13:1-3)

                                                                                                                              ECONOMY                                                                                                 (PRV 12:24; PS 128:2)

          Prices skyrocketed under Biden/Harris                                                                                                                                  Unemployment was a low 3.5% before
          administration. Price of gasoline                                                                                                                                      Covid. GDP was at 6.8% even during the
          doubled during the administration.                                                                                                                                     pandemic slump. Favors lowering
          Blames big corporations. Proposes                                                                                                                                      taxes and cutting red tape for small
          price setting and rent control.                                                                                                                                        businesses to flourish.

                                                                                              FAMILY & MARRIAGE                                                                                                                        (HEB 13:18; GEN 1:27)

         Harris and Walz are proponents of                                                                                                                                     Title IX under Trump prohibited men
         transgendering children. No parental                                                                                                                                  in women’s bathrooms and locker
         consent for children who receive hormone                                                                                                                              rooms. Safeguarded women’s sports
         therapy. Walz banned biblical counseling                                                                                                                              from men competing. No federal
         for LGBTQ persons. Considers LGBTQ a                                                                                                                                  funding for transgender treatments
         protected class, changing Title IX for                                                                                                                                for children.
         men in women’s bathrooms and sports.


                                                                                                                                               LIFE                                                                                                              (PS 139:13-15)

          Supports late term and taxpayer-funded                                                                                                                                  Promised to veto any legislation that would
          abortion on demand. Voted against the                                                                                                                                   weaken pro-life laws; celebrated the
          Born-Alive Abortion Survivors Protection                                                                                                                                overturn of Roe v. Wade; views abortion as a
          Act. Walz scrapped parental notification                                                                                                                                state issue. Won’t restrict abortion pills,
          for minors and waiting periods. Harris has                                                                                                                              supports protection of life after 15 weeks,
          prosecuted pro-life activists.                                                                                                                                          and against late term abortion.

                                                                                                                                       ISRAEL                                                                                                                        (PS 122:6-9)

          Favors Israel's right to defense;                                                                                                                                      Recognized Jerusalem as Israel’s
          opposes BDS.Avoided PM Netanyahu’s                                                                                                                                     capitol and moved America’s Embassy
          speech to Congress. Supports Iran                                                                                                                                      to Jerusalem. Withdrew from Iran deal.
          nuclear deal.                                                                                                                                                          Firm ally to Israel in tangible support.
                                                                                                                                                                                                                                                                                     ELECTION PROCESSES
                                                                                                    during this time. (Ps 34:7)
                                                                                                    our candidates and our nation
                                                                                                    PRAY for physical protection for

                                                                                                                                       destroyed. (I Pet 5:8)
                                                                                                                                       to be exposed, dismantled, and
                                                                                                                                       PRAY for schemes of the Enemy

                                                                                                                                                                        truth. (Hos 14:9)
                                                                                                                                                                        PRAY for citizens to discern

                                                                                                                                                                                                       before. (Prv 29:2)
                                                                                                                                                                                                       greater numbers than ever
                                                                                                                                                                                                       vote seriously and turn out in
                                                                                                                                                                                                       their responsibility/privilege to
                                                                                                                                                                                                       PRAY that believers would take

                                                                                                                                                                                                                                           fraud. (2 Cor 8:21)
                                                                                                                                                                                                                                           be fair, honest, and free from
                                                                                                                                                                                                                                           PRAY for the election process to
                                                                    85:6)
                                                                    election would honor God! (Ps
                                                                    PRAY that the outcome of the
              Father, I pray that You would
              find me faithful in exercising




                                                                                                                                                                                                                                                                                      PRAYER POINTS FOR
              uphold Your values as I cast
                 my right to vote, and to
                  my ballot to elect my




                                               Join in praying...
IFApray.org
                         leaders.
    Case 6:24-cv-00311-JCB    Document 20    Filed 02/21/25   Page 69 of 73 PageID #: 293




       HARRIS/WALZ                                              TRUMP/VANCE

                             NATIONAL SECURITY                        (PS 144:1; JOS 23:10)

Biden/Harris Admin. disastrous withdrawal          Protected America’s position over China
from Afghanistan. Walz has warm                    and withdrew from Iran deal and Paris
relationship with China. Advocates for             Accords. Tariffs on Chinese goods.
military personnel with gender dysphoria.          Increased border protections. Trump
Supports VA facilities to provide                  Administration strengthened religious
abortions and gender surgeries.                    liberty for military personnel.

                              PARENTAL RIGHTS                         (PRV 22:6; DT 6:6-7)

Opposes school choice. Universal                    Introduced the “Protect Children’s
national preschool. Walz’s HF1655                   Innocence Act” legislation protecting
creates legal protection of pedophilia.             children from trans treatments.
Harris/Walz policies allow for gender               Parents have ultimate authority over
change procedures on minors without                 the state for decisions for their children.
parental approval.

                           ELECTION INTEGRITY                        (2 COR 8:21; I PT 5:8)

Proponent of ballot harvesting, drop                Favors voter ID, calls for states
boxes, mail-in voting, and other                    regularly cleaning voter rolls, advocates
alternative forms of voting. Opposes                for citizen-only voting. Proponent of
voter ID requirement, citing                        transparency in ballot tabulation
disenfranchisement.                                 process with observers and security.

  JOIN IN PRAYER AND ACTION FOR THE ELECTIONS
Pray for voters, election volunteers, and those who preside over elections in each state by
visiting PrayTheVote2024.com. It is the launching pad for prayer and action for the 2024
elections! And take action: check your voter registration, sign up to volunteer, report fraud
concerns, and more—all in one place!

       View our entire bibliography of research at IFApray.org/louderthanwords




                                       IFAPRAY.ORG

Intercessors for America
PO Box 915
Purcellville, VA 20134
                                                                                  I d
                                                                                    e
                                                                               Pray
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25   Page 70 of 73 PageID #: 294
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25   Page 71 of 73 PageID #: 295
Case 6:24-cv-00311-JCB   Document 20   Filed 02/21/25   Page 72 of 73 PageID #: 296
Case 6:24-cv-00311-JCB     Document 20    Filed 02/21/25   Page 73 of 73 PageID #: 297




                                   VERIFICATION


 I, Ivy Shelton, declare as follows:

    1. I am the Senior Pastor of First Baptist Church Waskom. First Baptist Church

       Waskom is a plaintiff in this action.

    2. I have personal knowledge of all facts alleged concerning First Baptist

       Church Waskom’s actions, practices, and intentions as described in the

       foregoing Amended Complaint. If called upon I could testify concerning all

       such matters.

    3. I verify under penalty of perjury under the laws of the United States that the

       factual allegations in the Amendment Complaint concerning First Baptist

       Church Waskom including its actions, practices, and intentions are true and

       correct.

 Executed on __February 16, 2025.




 Ivy Shelton
